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                       Exhibit 3
                                 to

           Memorandum of Law in Support of United States’
               Motion to Consolidate Cases for Trial
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


IN RE: PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE                                MDL No. 1456
LITIGATION                                             Subcategory Case No. 06-11337
                                                       Master File No. 01-CV-12257-PBS

THIS DOCUMENT RELATES TO:                              Hon. Patti B. Saris

United States of America ex rel. Ven-A-Care of         Magistrate Judge Marianne B. Bowler
the Florida Keys, Inc., et al. v. Dey, Inc., et al.
Civil Action No. 05-11084-PBS



                        DEFENDANTS DEY, INC., DEY L.P., INC.,
                   AND DEY, L.P.'S SECOND SUPPLEMENTAL INITIAL
                   DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1)

                Pursuant to Fed. R. Civ. P. 26(a)(1) Defendants Dey, Inc., Dey L.P., Inc., and

Dey, L.P. (collectively "Dey"), by and through their attorneys, hereby provide their second

supplemental initial disclosures. These supplemental disclosures are based on the information

reasonably available to Dey as of this date and do not purport to identify every witness or

document possibly relevant to this case. Dey reserves the right to further supplement or amend

these disclosures pursuant to Fed. R. Civ. P. 26(e) upon receipt of subsequently filed pleadings

or further investigation and discovery in this case. Dey reserves all applicable privileges.

Rule 26(a)(1)(A): Individuals Likely to Have Discoverable Information

(A)     The name and, if known, the address and telephone number of each
        individual likely to have discoverable information that the disclosing party
        may use to support its claims or defenses, unless solely for impeachment,
        identifying the subjects of the information.
RESPONSE:

                Dey provides this response without waiver or prejudice to: (a) its right, at any

later time, to raise any objections as to the competency, relevancy, materiality, privilege or



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admissibility as evidence, for any purpose, of any testimony of, or information provided by, any

of the individuals listed below; (b) its right to object on any ground to any testimony of, or

information provided by, any of the individuals listed below at any hearing or trial; or (c) its right

at any time to revise, correct, add to, supplement, or clarify this response.

                Subject to, and without waiving the foregoing, the following individual current or

former employees of Dey may have discoverable information that Dey may use to support its

claims or defenses:

          Name                      Address                         Subject(s) of Information
     Chuck Adams          10429 Riverview Avenue             Dey's national accounts; Dey's sales
                          Edwardsville, KS 66111             of its drugs; communications with
                          (913) 422-0356                     customers regarding sales transactions
     Roy Barnes           118 River Heights, Memphis,        Sales experience while at Dey
                          Tennessee 38103
     Mark Boudreau        13 Thomas Drive                    Dey's national accounts; Dey's sales
                          Wynantskill, NY 12198              of its drugs; communications with
                          (518) 674-8075                     customers regarding sales transactions
     Julia Bradsher       10 Palomino Circle                 Dey's marketing of its drugs
                          Novato, CA 94947
                          (707) 898-6606
     Debra Bronstein      120 Canyon Drive                   Dey's marketing of its drugs; Dey's
                          Napa, CA 94558                     communications with the Department
                          (707) 224-1153                     of Health and Human Services,
                                                             Centers for Medicare and Medicaid
                                                             Services ("CMS"), formerly the
                                                             Health Care Financing Administration
                                                             ("HCFA") and state Medicaid offices;
                                                             Dey's reporting of prices to state
                                                             Medicaid programs and drug pricing
                                                             publishing services, such as First
                                                             DataBank

     Helen Burnham         106 Mendocino Way                 Dey's marketing of its drugs; Dey's
     Selenati              Redwood City, CA 94065            communications with HCFA/CMS and
                                                             state Medicaid offices; Dey's
                                                             reporting of prices to state Medicaid
                                                             programs and drug pricing publishing
                                                             services, such as First DataBank
     Bret Calder          156 Eddy Lane                      Dey's national accounts; Dey's sales
                          Newington, CT 06111                of its drugs; communications with


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                        (860) 666-1800                customers regarding sales transactions
     Hema               300 Hilary Way #166           Dey's sales of its drugs; Dey's
     Chandranatha       Vallejo, CA 94591             correspondence and contracts with
                        (707) 731-0036                customers
     Glenn Cornish      408 State Street              Dey's national accounts; Dey's sales
                        Adrian, MI 49221              of its drugs; communications with
                        (517) 263-0698                customers regarding sales transactions
     Cindy Daulong      20 B Nebling Road             Dey's sales of its drugs
                        Little Rock, AR 72205
                        (501) 954-7095
     Todd Galles        4267 Kingsford Drive          Dey's marketing of its drugs; Dey's
                        Napa, CA 94558                communications with HCFA/CMS and
                        (707) 255-2565                state Medicaid offices; Dey's
                                                      reporting of prices to state Medicaid
                                                      programs and drug pricing publishing
                                                      services, such as First DataBank
     Eve Gmeiner        819 Garfield Drive            Dey's marketing of its drugs; Dey's
     Fagrell            Petaluma, CA 94954            communications with HCFA/CMS and
                        (707) 766-1729                state Medicaid offices; Dey's
                                                      reporting of prices to state Medicaid
                                                      programs and drug pricing publishing
                                                      services, such as First DataBank
     William Hill       18224 Peninsula Club Drive,   Dey's sales and marketing practices
                        Cornelius, North Carolina
                        28031
     L.A. Jackson       1605 Norristown Road          Dey's national accounts; Dey's sales
                        Ambler, PA 19002              of its drugs; communications with
                        (215) 542-6837                customers regarding sales transactions
     Russell Johnston   540 S Almond Street           Dey's sales of its drugs; Dey's
                        Dixon, CA 95620               correspondence and contracts with
                        (916) 678-3467                customers
     Ray Joske          3087 Coombsville Road         Dey's marketing of its drugs
                        Napa, CA 94558
                        (707) 254-7933
     Lori Kamins        11048 N. Mountain             Dey's managed care accounts; Dey's
                        Breeze Drive                  sales of its drugs; communications
                        Oro Valley, AZ 85737          with customers regarding sales
                        (520) 544-4411                transactions
     Kian Kazemi        29050 No. 50th Place          Dey's national accounts; Dey's sales
                        Cave Creek, AZ 85331          of its drugs; communications with
                        (480) 419-3528                customers regarding sales transactions
     Adam Kopp          5220 Cedarville Avenue        Dey's managed care accounts; Dey's
                        Sheffield Village, OH 44054   sales of its drugs; communications
                        (440) 934-8013                with customers regarding sales
                                                      transactions
     Kurty Laffy        2771-29 Monument Road         Dey's national accounts; Dey's sales


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                        Pmb 406                    of its drugs; communications with
                        Jacksonville, FL 32225     customers regarding sales transactions
                        (904) 221-3287

     Pamela Marrs       3185 Sonoma Valley Drive   Dey's marketing of its drugs; Dey's
                        Fairfield, CA 94534        sales of its drugs; Dey's pricing of its
                        (707) 429-5991             drugs, including any rebates,
                                                   chargebacks, or other price discounts
                                                   offered to customers; Dey's payment
                                                   of rebates to state Medicaid programs;
                                                   profitability of Dey's drugs
     Jay Martin         1255 Wildwing Lane         Dey's marketing of its drugs; Dey's
                        Vallejo, CA 94591          pricing of its drugs, including any
                        (707) 648-1713             rebates, chargebacks, or other price
                                                   discounts offered to customers
     Jeremey Massett    1970 Hummingbird Drive     Dey's communications with
                        Fairfield, CA 94534        HCFA/CMS and state Medicaid
                        (707) 419-5659             offices; Dey's payment of rebates to
                                                   state Medicaid programs; Dey's
                                                   calculation of average manufacturer
                                                   price ("AMP") and Best Price and the
                                                   reporting of AMP and Best Price to
                                                   federal agencies; the rebate agreement
                                                   between Dey and HHS; supplemental
                                                   rebate agreements
     Scott Maynard      229 Parkview Terrace       Dey's calculation of AMP and Best
                        Vallejo, CA 94589          Price and the reporting of AMP and
                        (707) 449-3698             Best Price to federal agencies
     Krisanus Medlock   14065 44th Lane East       Dey's national accounts; Dey's sales
                        St. Michael, MN 55376      of its drugs; communications with
                        (763) 497-9131             customers regarding sales transactions
     Lewis Mow                                     supplemental rebate agreements;
                                                   pricing proposal analyses
     Robert Mozak       67 Toxaway Court           Dey's marketing of its drugs; Dey's
                        Lake Toxaway, NC 28747     sales of its drugs
                        (828) 862-8396
     Joe Oberting       2721 Laurel Street         profitability of Dey's drugs; Dey's
                        Napa, CA 94558             calculation of AMP and Best Price and
                        (707) 256-3686             the reporting of AMP and Best Price
                                                   to federal agencies; supplemental
                                                   rebate agreements
     Charles Rice       429 N Mosley Road          Dey's marketing of its drugs; Dey's
                        Creve Coeur, MO 63141      sales of its drugs; Dey's pricing of its
                                                   drugs, including any rebates,
                                                   chargebacks, or other price discounts
                                                   offered to customers; the rebate


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                                                             agreement between Dey and HHS;
                                                             Dey's communications with
                                                             HCFA/CMS and state Medicaid
                                                             offices; Dey's reporting of prices to
                                                             state Medicaid programs and drug
                                                             pricing publishing services, such as
                                                             First DataBank
     Rich Speno                                              communications with the Florida
                                                             Medicaid program regarding pricing
                                                             and competition in the generic drug
                                                             market
     Bruce Tipton         416 Honeysuckle Lane               Dey's sales of its drugs
                          San Ramon, CA 94583
                          (510) 736-6317
     Christy Taylor       1170 Castle Oaks Drive             Dey's sales of its drugs; Dey's
                          Napa, CA 94558                     marketing of its drugs
                          (707) 265-8218
     Ross Uhl             P.O. Box 19177                     Dey's national accounts; Dey's sales
                          Atlanta, GA 31126                  of its drugs; communications with
                          (404) 467-9470                     customers regarding sales transactions
     Rick Upp             924 Rio Lindo                      Dey's national accounts; Dey's sales
                          San Clemente, CA 92672             of its drugs; communications with
                          (949) 498-6029                     customers regarding sales transactions
     Mike Wilson          765 Bayberry Drive                 Dey's national accounts; Dey's sales
                          Cary, IL 60013                     of its drugs; communications with
                          (847) 516-1151                     customers regarding sales transactions
     Doug Zitnack         8409 Barton Avenue NW              Dey's national accounts; Dey's sales
                          Buffalo, MN 55313                  of its drugs; communications with
                          (320) 963-6363                     customers regarding sales transactions


                Current and former Dey employees should be contacted only through the

undersigned counsel for Dey, except for Ms. Burnham-Selenati. Dey's identification of these

individuals and the information they may possess shall not be construed as an admission by Dey

that any information possessed by these individuals is relevant to or admissible in this litigation.




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                Dey also states that the following current and former employees of Plaintiff

United States ("Plaintiff') and current and former employees of various state government or

other agencies are likely to have discoverable information that Dey may use to support its claims

or defenses in this case on various subjects:

     Name and Contact                                Subject(s) of Information
        Information
Rosanne Abato, CMS                  Methodologies, policies, and procedures concerning drug
                                    reimbursement under Medicare or Medicaid;
                                    implementation of those methodologies, policies, and
                                    procedures; Medicaid Drug Rebate Program
Linda Boone Abbott,                 Average Wholesale Price ("AWP"); providers'
Department of Health and            acquisition costs; preparation of the following OEI
Human Services, Office of           reports: Comparison of Medicaid Federal Upper Limit
Evaluation and Inspections          Amounts to Average Manufacturers Price, OEI-03-05-
("OEI")                             00110; Medicaid Drug Price Comparisons: Average
7500 Security Boulevard             Manufacturer Price To Published Prices, OEI-05-05-
Baltimore, Maryland 21244           00240; Medicaid Drug Price Comparison: Average Sales
(410) 786-3000                      Price to Average Wholesale Price, OEI-03-05-00200;
                                    How Inflated Published Prices Affect Drugs Considered
                                    for the Federal Upper Limit List, OEI-03-05-00350;
                                    Review Of Services Provided By Inhalation Drug
                                    Suppliers, OEI-01-05-00090; Calculation Of Volume-
                                    Weighted Average Sales Price For Medicare Part B
                                    Prescription Drugs, OEI-03-05-00310; Monitoring
                                    Medicare Part B Drug Prices: A Comparison of Average
                                    Sales Prices To Average Manufacturer Prices, OEI-03-
                                    04-00430; A Comparison of Average Sales Prices To
                                    Widely Available Market Prices: Fourth Quarter 2005,
                                    OEI-03-05-00430; Comparison of Fourth-Quarter 2005
                                    Averages Sales Prices To Average Manufacturer Prices:
                                    Impact on Medicare Reimbursement For Second Quarter
                                    2006, OEI-03-06-00370; Generic Drug Utilization in
                                    State Medicaid Programs, OEI-05-05-00360
Lynn Abrell, Alabama                Medicaid drug rebate program; AMP; Alabama Medicaid
Medicaid Agency                     supplemental rebate program
Administar Federal                  Medicare reimbursement methodologies and setting of
                                    policies for reimbursement; AWP; reimbursement limits
                                    and modifiers; median AWP for therapeutic equivalent
                                    drugs; the provider's usual and customary charge;
                                    estimated acquisition cost; rates set by the Secretary
                                    pursuant to "inherent reasonableness"; policies and the
                                    establishment of policies for the reimbursement of


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                               nebulizer drugs; prescriptions administered through
                               durable medical equipment; dispensing fees; audits of
                               reimbursement for prescriptions administered through
                               durable medical equipment; pricing arrays and
                               calculation of median AWP
Affiliated Computer Services   Claims processing and related issues
Jesse Anderson, Oregon         Conduct of Oregon's Medicaid program; goals of the
Department of Human Services   Oregon Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Oregon Medicaid program; access to
                               care under the Oregon Medicaid program; actual
                               acquisition cost; AWP; WAC, AMP; URA; ingredient
                               cost; usual and customary charge; claims; providers;
                               EAC; MAC; FULs; Medicaid rebates, including
                               supplemental rebate agreements; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees;
                               State Plans; audit reports and surveys regarding
                               providers ' acquisition costs and dispensing costs;
                               providers' lobbying efforts and communications;
                               Medicaid statutes, regulations, rules, policies, and
                               handbooks; communications with drug manufacturers;
                               claims processing; markets for brand and generic drugs;
                               Oregon and HHS's knowledge of difference between
                               providers' average/actual acquisition costs and published
                               AWP and WAC; communications with HHS and other
                               employees of other state's Medicaid programs; any topic
                               discussed at deponent's deposition; pharmacy profit
                               margins; DOJ AWPs; meetings and communications of
                               the State Medicaid Directors' Association or other
                               similar groups.
Thomas Ault, CMS               Methodologies, policies, and procedures concerning drug
                               reimbursement under Medicare or Medicaid;
                               implementation of those methodologies , policies, and
                               procedures
Cheryl Austein-Casnoff, CMS    Methodologies, policies, and procedures concerning drug
7500 Security Boulevard        reimbursement under Medicare or Medicaid;
Baltimore, Maryland 21244      implementation of those methodologies, policies, and
(410) 786-3000                 procedures; Medicaid Drug Rebate Program
Paula Avarista, Rhode Island   Conduct of Rhode Island's Medicaid program; goals of
Department of Human Services   the Rhode Island Medicaid program; United States'
("DHS")                        alleged damages; reimbursement methodologies for
                               prescription drugs under the Rhode Island Medicaid
                               program; access to care under the Rhode Island Medicaid
                               program; actual acquisition cost; AWP; WAC, AMP;
                               URA; ingredient cost; usual and customary charge;
                               claims; providers; EAC; MAC; FULs; Medicaid rebates,


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                             including supplemental rebate agreements; dispensing
                             fees and dispensing costs, including adequacy of
                             dispensing fees; State Plans; audit reports and surveys
                             regarding providers' acquisition costs and dispensing
                             costs; providers' lobbying efforts and communications;
                             Medicaid statutes, regulations, rules, policies, and
                             handbooks; communications with drug manufacturers;
                             claims processing; markets for brand and generic drugs;
                             Rhode Island and HHS's knowledge of difference
                             between providers' average/actual acquisition costs and
                             published AWP and WAC; communications with HHS
                             and other employees of other state's Medicaid programs;
                             any topic discussed at deponent's deposition; pharmacy
                             profit margins; DOJ AWPs; meetings and
                             communications of the State Medicaid Directors'
                             Association or other similar groups
Faye Baggiano, Alabama       Reimbursement methodologies used by the Alabama
Medicaid Agency              Medicaid Program; actual acquisition costs
Debra Bahr, Kentucky         Funding for the Medicaid Program; reimbursement
Department of Medicaid       methodologies for prescription drugs under the Kentucky
Services ("DMS")             Medicaid program; goals of the Kentucky Medicaid
                             program; access to care under the Kentucky Medicaid
                             program; actual acquisition cost; AWP; WAC; AMP;
                             ingredient cost; usual and customary charge; EAC;
                             MAC; FULs; Medicaid rebates, including supplemental
                             rebate agreements; dispensing fees and dispensing costs,
                             including adequacy of dispensing fees; State Plans; audit
                             reports and surveys regarding providers' acquisition
                             costs and dispensing costs, including the Myers &
                             Stauffer reports; providers' lobbying efforts; Revised
                             2000 AWPs; reimbursement formulas of non-Medicaid
                             payors; communication from the National Medicaid
                             Pharmacy Administrators Listserve; Medicaid budget
                             crisis.
Suzanne Bailey, OEI          AWP; providers' acquisition costs; preparation of the
7500 Security Boulevard      following OEI report: Review of 340B Prices, OEI-05-
Baltimore, Maryland 21244    02-00073
(410) 786-3000
Amy Bassano, CMS             Reimbursement methodologies for prescription drugs
                             under the Medicare and Medicaid programs; goals of the
                             Medicare and Medicaid programs; access to care under
                             the Medicare and Medicaid programs; actual acquisition
                             cost; AWP; WAC; AMP; Best Price; average sales price
                             ("ASP"); ingredient cost; usual and customary charge;
                             EAC; MAC; FUL; Medicaid rebates and Medicaid rebate
                             agreements; dispensing fees and dispensing costs,


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                              including adequacy of dispensing fees; approval of State
                              Medicaid plans; federal funding of State Medicaid
                              programs; audit reports and surveys regarding providers'
                              acquisition costs and dispensing costs; providers'
                              lobbying efforts and communications with HCFA/CMS;
                              Medicaid and Medicare statutes, regulations, rules, and
                              policies; communications with drug manufacturers;
                              markets for brand and generic drugs; inherent
                              reasonableness authority; Medicare carriers and authority
                              to set reimbursement rates
Robert Berenson, CMS          Medicaid Drug Rebate Program
Larry Bernstein, California   Any effort by the California Department of Health Care
Department of Health Care     Services to determine whether providers were reporting
Services ("DHCS")             Usual and Customary charges in compliance with federal
                              and California rules and regulations; conduct of
                              California's Medicaid program; goals of the California
                              Medicaid program; United States' alleged damages;
                              reimbursement methodologies for prescription drugs
                              under the California Medicaid program; access to care
                              under the California Medicaid program; actual
                              acquisition cost; AWP; WAC, AMP; URA; ingredient
                              cost; usual and customary charge; claims; providers;
                              EAC; MAC; FULs; Medicaid rebates, including
                              supplemental rebate agreements; dispensing fees and
                              dispensing costs, including adequacy of dispensing fees;
                              State Plans; audit reports and surveys regarding
                              providers' acquisition costs and dispensing costs;
                              providers' lobbying efforts and communications;
                              Medicaid statutes , regulations , rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs;
                              California and HHS's knowledge of difference between
                              providers ' average/actual acquisition costs and published
                              AWP and WAC; communications with HHS and other
                              employees of other state's Medicaid programs; any topic
                              discussed at deponent's deposition; pharmacy profit
                              margins; DOJ AWPs; meetings and communications of
                              the State Medicaid Directors' Association or other
                              similar groups
Erin Bliss, OEI               AWP; providers' acquisition costs; preparation of the
                              following OEI report: Review of 340B Prices, OEI-05-
                              02-00073
Charles Booth, CMS            Reimbursement methodologies for prescription drugs
                              under the Medicare and Medicaid programs; goals of the
                              Medicare and Medicaid programs; access to care under
                              the Medicare and Medicaid programs; actual acquisition


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                               cost; AWP; WAC; AMP; Best Price; average sales price
                               ("ASP"); ingredient cost; usual and customary charge;
                               EAC; MAC; FUL; Medicaid rebates and Medicaid rebate
                               agreements; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees; approval of State
                               Medicaid plans; federal funding of State Medicaid
                               programs; audit reports and surveys regarding providers'
                               acquisition costs and dispensing costs; providers'
                               lobbying efforts and communications with HCFA/CMS;
                               Medicaid and Medicare statutes, regulations, rules, and
                               policies; communications with drug manufacturers;
                               markets for brand and generic drugs; inherent
                               reasonableness authority; Medicare carriers and authority
                               to set reimbursement rates
Julie Boughn, CMS              Medicaid payment systems; implementation of the
                               Medicaid Modernization Act; related topics
Dennis Boyd, Kentucky DMS      Funding for the Medicaid Program; Medicaid budget
                               crisis; Kentucky's managed care program;
                               reimbursement methodologies for prescription drugs
                               under the Kentucky Medicaid program; goals of the
                               Kentucky Medicaid program; access to care under the
                               Kentucky Medicaid program; actual acquisition cost;
                               AWP; WAC; AMP; ingredient cost; usual and customary
                               charge; EAC; MAC; FULs; Medicaid rebates, including
                               supplemental rebate agreements; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees;
                               State Plans, including state flexibility in creating
                               reimbursement methodologies; audit reports and surveys
                               regarding providers' acquisition costs and dispensing
                               costs, including the Myers & Stauffer reports; providers'
                               lobbying efforts, including contact with pharmacy
                               representatives; reimbursement formulas of non-
                               Medicaid payors; communication with manufacturers.
Suzette Bridges, Arkansas      Conduct of Arkansas's Medicaid program; goals of the
Department of Human Services   Arkansas Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Arkansas Medicaid program; access to
                               care under the Arkansas Medicaid program; actual
                               acquisition cost; AWP; WAC, AMP; URA; ingredient
                               cost; usual and customary charge; claims; providers;
                               EAC; MAC; FULs; Medicaid rebates, including
                               supplemental rebate agreements; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees;
                               State Plans; audit reports and surveys regarding
                               providers' acquisition costs and dispensing costs;
                               providers' lobbying efforts and communications;


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                              Medicaid statutes, regulations, rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs;
                              Arkansas and HHS's knowledge of difference between
                              providers' average/actual acquisition costs and published
                              AWP and WAC; communications with HHS and other
                              employees of other state's Medicaid programs; any topic
                              discussed at deponent's deposition; pharmacy profit
                              margins; DOJ AWPs; meetings and communications of
                              the State Medicaid Directors' Association or other
                              similar groups.
Pearl Brown                   The federal Payment Management System, or
Team Leader, Division of      "SmartLink" system used by State Medicaid agency
Payment Management, Office    recipients; procedures relating to payment of federal
of Assistant Secretary for    monies to State Medicaid agencies, the Form PSC-272;
Administration and            certifications of requests to HHS for payment of the
Management, Department of     federal share
HHS
Tami Bruce, CMS               Unit rebate amounts; communications with state agencies
                              regarding unit rebate amounts and AMP
Joseph Bryant, CMS            Reimbursement methodologies for prescription drugs
                              under the Medicare and Medicaid programs; goals of the
                              Medicare and Medicaid programs; access to care under
                              the Medicare and Medicaid programs; actual acquisition
                              cost; AWP; WAC; AMP; Best Price; average sales price
                              ("ASP"); ingredient cost; usual and customary charge;
                              EAC; MAC; FUL; Medicaid rebates and Medicaid rebate
                              agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; approval of State
                              Medicaid plans; federal funding of State Medicaid
                              programs; audit reports and surveys regarding providers'
                              acquisition costs and dispensing costs; providers'
                              lobbying efforts and communications with HCFA/CMS;
                              Medicaid and Medicare statutes, regulations, rules, and
                              policies; communications with drug manufacturers;
                              markets for brand and generic drugs; inherent
                              reasonableness authority; Medicare carriers and authority
                              to set reimbursement rates
Margaret Bullock, Montana     Cost saving measures considered by the Montana
Department of Public Health   Medicaid program; reimbursement methodologies for
and Human Services            prescription drugs under the Montana Medicaid program;
("DPHHS")                     dispensing fees and dispensing costs, including adequacy
                              of dispensing fees; audit reports and surveys regarding
                              providers' acquisition costs and dispensing costs; access
                              to care concerns under the Montana Medicaid program;
                              AWP; actual acquisition costs


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Ira Burney, CMS               Methodologies, policies, and procedures concerning drug
                              reimbursement under Medicare or Medicaid;
                              implementation of those methodologies, policies, and
                              procedures; Medicaid Drug Rebate Program; actual
                              acquisition cost; AWP; WAC; AMP; Best Price; average
                              sales price ("ASP"); ingredient cost; usual and customary
                              charge; EAC; MAC; FUL; communications with third
                              parties, including Congress; legislation regarding
                              Medicaid reimbursement methodologies
Isabelle Buonocore, OEI       AWP; providers' acquisition costs; Preparation of the
7500 Security Boulevard       following OEI report: Medicaid Recovery of Pharmacy
Baltimore, Maryland 21244     Payments from Liable Third Parties, OEI-03-00-00030
(410) 786-3000
Edward K. Burley, OEI         AWP; providers' acquisition costs; preparation of the
7500 Security Boulevard       following OEI reports: Medicaid Drug Price
Baltimore, Maryland 21244     Comparison: Average Sales Price to Average Wholesale
(410) 786-3000                Price, OEI-03-05-00200; Drug Prices: A Comparison of
                              Average Sales Prices To Average Manufacturer Prices,
                              OEI-03-04-00430
Craig Burridge, Pharmacists   Medicaid reimbursement methodologies; dispensing
Society of the State of New   costs; dispensing fees; adequacy of reimbursement;
York                          MAC; FUL; pharmacy profit margins; providers'
                              lobbying efforts and communications with the
                              Connecticut Medicaid program
Kathleen Buto, CMS            Methodologies, policies, and procedures concerning drug
                              reimbursement under Medicare or Medicaid;
                              implementation of those methodologies, policies, and
                              procedures
David Campana, Alaska         Reimbursement methodologies for prescription drugs
Division of Health Care       under the Alaska Medicaid program; goals of the Alaska
Services                      Medicaid program; access to care under the Alaska
                              Medicaid program; actual acquisition cost; AWP; AMP;
                              URA; ingredient cost; usual and customary charge;
                              claims; providers; EAC; MAC; FULs; Medicaid rebates;
                              dispensing fees and dispensing costs, including adequacy
                              of dispensing fees; State Plans; audit reports and surveys
                              regarding providers' acquisition costs and dispensing
                              costs; providers' lobbying efforts and communications;
                              Medicaid statutes, regulations, rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs
Rachel Carabell, Wisconsin    Conduct of Wisconsin's Medicaid program; goals of the
Legislative Fiscal Bureau     Wisconsin Medicaid program; United States' alleged
                              damages; reimbursement methodologies for prescription
                              drugs under the Wisconsin Medicaid program; access to
                              care under the Wisconsin Medicaid program; actual


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                                acquisition cost; AWP; WAC, AMP; URA; ingredient
                                cost; usual and customary charge; claims; providers;
                                EAC; MAC; FULs; Medicaid rebates, including
                                supplemental rebate agreements; dispensing fees and
                                dispensing costs, including adequacy of dispensing fees;
                                State Plans; audit reports and surveys regarding
                                providers' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications;
                                Medicaid statutes , regulations , rules, policies, and
                                handbooks; communications with drug manufacturers;
                                claims processing; markets for brand and generic drugs;
                                Wisconsin and HHS's knowledge of difference between
                                providers' average/actual acquisition costs and published
                                AWP and WAC; communications with HHS and other
                                employees of other state's Medicaid programs; any topic
                                discussed at deponent's deposition; pharmacy profit
                                margins; DOJ AWPs; meetings and communications of
                                the State Medicaid Directors' Association or other
                                similar groups ; communications with the Wisconsin
                                legislature regarding Medicaid reimbursement
                                methodologies
Madeline Carpinelli, OEI        AWP; providers' acquisition costs; preparation of the
                                following OEI report: Cost Containment of Medicaid
                                HIV/AIDS Drug Expenditures, OEI-05-99-00611
Susan Chandler, Hawaii          Reimbursement methodologies for prescription drugs
Department of Human Services    under the Hawaii Medicaid program; dispensing fees and
("DHS")                         dispensing costs, including adequacy of dispensing fees;
                                access to care under the Hawaii Medicaid program;
                                actual acquisition cost; AWP ; wholesale acquisition cost
                                ("WAC"); AMP; ingredient cost; usual and customary
                                charge; estimated acquisition cost ("EAC"); MAC; FUL;
                                State Plans; audit reports and surveys regarding
                                providers ' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications with
                                Hawaii Medicaid; Medicaid statutes, regulations, rules,
                                and policies; communications with drug manufacturers;
                                markets for brand and generic drugs; cost saving
                                measures considered by the Hawaii Medicaid program
Debbie Chang, CMS               Methodologies, policies, and procedures concerning drug
7500 Security Boulevard         reimbursement under Medicare or Medicaid;
Baltimore, Maryland 21244       implementation of those methodologies, policies, and
(410) 786-3000                  procedures; Medicaid Drug Rebate Program
Richard Chao, Wisconsin         Conduct of Wisconsin's Medicaid program; goals of the
Department of Health Services   Wisconsin Medicaid program; United States' alleged
("DHS")                         damages; reimbursement methodologies for prescription
                                drugs under the Wisconsin Medicaid program; access to


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                                care under the Wisconsin Medicaid program; actual
                                acquisition cost; AWP; WAC, AMP; URA; ingredient
                                cost; usual and customary charge; claims; providers;
                                EAC; MAC; FULs; Medicaid rebates, including
                                supplemental rebate agreements; dispensing fees and
                                dispensing costs, including adequacy of dispensing fees;
                                State Plans; audit reports and surveys regarding
                                providers' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and
                                handbooks; communications with drug manufacturers;
                                claims processing; markets for brand and generic drugs;
                                Wisconsin and HHS's knowledge of difference between
                                providers' average/actual acquisition costs and published
                                AWP and WAC; communications with HHS and other
                                employees of other state's Medicaid programs; any topic
                                discussed at deponent's deposition; pharmacy profit
                                margins; DOJ AWPs; meetings and communications of
                                the State Medicaid Directors' Association or other
                                similar groups.
Allen D. Chapman, former        Conduct of state's Medicaid program; goals of the
Colorado Department of Health   Colorado Medicaid program; United States' alleged
Care Policy and Financing       damages; reimbursement methodologies for prescription
                                drugs under the Colorado Medicaid program; access to
                                care under the Colorado Medicaid program; actual
                                acquisition cost; AWP; WAC, AMP; URA; ingredient
                                cost; usual and customary charge; claims; providers;
                                EAC; MAC; FULs; Medicaid rebates, including
                                supplemental rebate agreements; dispensing fees and
                                dispensing costs, including adequacy of dispensing fees;
                                State Plans; audit reports and surveys regarding
                                providers' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and
                                handbooks; communications with drug manufacturers;
                                claims processing; markets for brand and generic drugs;
                                Colorado and HHS's knowledge of difference between
                                providers' average/actual acquisition costs and published
                                AWP and WAC; communications with HHS and other
                                employees of other state's Medicaid programs; any topic
                                discussed at deponent's deposition; pharmacy profit
                                margins; DOJ AWPs; meetings and communications of
                                the State Medicaid Directors' Association or other
                                similar groups; communications with OIG
Gary Cheloha, Nebraska          Conduct of Nebraska's Medicaid program; goals of the
Medicaid                        Nebraska Medicaid program; United States' alleged


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                            damages; reimbursement methodologies for prescription
                            drugs under the Nebraska Medicaid program; access to
                            care under the Nebraska Medicaid program; actual
                            acquisition cost; AWP; WAC, AMP; URA; ingredient
                            cost; usual and customary charge; claims; providers;
                            EAC; MAC; FULs; Medicaid rebates, including
                            supplemental rebate agreements; dispensing fees and
                            dispensing costs, including adequacy of dispensing fees;
                            State Plans; audit reports and surveys regarding
                            providers' acquisition costs and dispensing costs;
                            providers' lobbying efforts and communications;
                            Medicaid statutes, regulations, rules, policies, and
                            handbooks; communications with drug manufacturers;
                            claims processing; markets for brand and generic drugs;
                            Nebraska and HHS's knowledge of difference between
                            providers' average/actual acquisition costs and published
                            AWP and WAC; communications with HHS and other
                            employees of other state's Medicaid programs; any topic
                            discussed at deponent's deposition; pharmacy profit
                            margins; DOJ AWPs; meetings and communications of
                            the State Medicaid Directors' Association or other
                            similar groups.
Paul Chesser, OEI           AWP; providers' acquisition costs; preparation of the
                            following OEI reports: HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the California
                            Department of Health Services" (A-06-95-00062, May
                            31, 1996); HHS-OIG, "Review of Pharmacy Acquisition
                            Costs for Drugs Reimbursed Under the Medicaid
                            Prescription Drug Program of the Montana Department
                            of Public Health and Human Services" (A-06-95-00068,
                            Jul. 11, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the Florida
                            Agency for Health Administration" (A-06-95-00065,
                            Aug. 13, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the North
                            Carolina Department of Human Resources" (A-06-95-
                            00071, Sep. 4, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the Delaware
                            Department of Health and Human Service" (A-06-95-
                            00063, Sep. 12, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the Virginia


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                            Department of Medical Assistance Services" (A-06-95-
                            00072, Nov. 21, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the New Jersey
                            Department of Human Services" (A-06-95-00070, Dec.
                            6, 1996); HHS-OIG, "Review of Pharmacy Acquisition
                            Costs for Drugs Reimbursed Under the Medicaid
                            Prescription Drug Program of the Nebraska Department
                            of Social Services" (A-06-95-00069, Dec. 24, 1996);
                            HHS-OIG, "Review of Pharmacy Acquisition Costs for
                            Drugs Reimbursed Under the Medicaid Prescription
                            Drug Program of the Missouri Department of Social
                            Services" (A-06-95-00067, Jan. 21, 1997); HHS-OIG,
                            "Review of Pharmacy Acquisition Costs for Drugs
                            Reimbursed Under the Medicaid Prescription Drug
                            Program of the District of Columbia Department of
                            Human Services" (A-06-95-00064, Jan. 31, 1997);
                            HHS-OIG, "Review of Pharmacy Acquisition Costs for
                            Drugs Reimbursed Under the Medicaid Prescription
                            Drug Program of the Maryland Department of Health
                            and Mental Hygiene" (A-06-95-00066, Feb. 12, 1997);
                            HHS-OIG, "Medicaid Pharmacy - Actual Acquisition
                            Cost of Prescription Drug Products for Brand Name
                            Drugs" (A-06-96-00030, Apr. 10, 1997); HHS-OIG,
                            "Medicaid Pharmacy - Actual Acquisition Cost of
                            Generic Prescription Drug Products" (A-06-97-00011,
                            Aug.. 4, 1997); HHS-OIG, "OIG's Partnership Plan -
                            Utah Division of Health Care Financing Reports on
                            Medicaid Pharmacy Acquisition Costs of Brand Name
                            and Generic Drugs" (A-06-99-00035 and A-06-99-
                            00036, May 4, 1999); HHS-OIG, "Medicaid Pharmacy -
                            Actual Acquisition Price of Brand Name Prescription
                            Drug Products" (A-06-00-0023, Aug. 10, 2001); HHS-
                            OIG, "Review of Pharmacy Acquisition Cost for Drugs
                            Under Medicaid Prescription Drug Program of West
                            Virginia Department of Health" (A-06-01-00007, Dec.
                            31, 2001); HHS-OIG, "Medicaid Pharmacy -Actual
                            Acquisition Cost of Generic Prescription Drug Products"
                            (A-06-01-00053, Mar. 14, 2002); HHS-OIG, "Use of
                            Average Wholesale Price in Reimbursing Pharmacies
                            Participating in Medicaid and the Medicare Prescription
                            Drug Program" (A-06-89-0037, Oct. 1989); HHS-OIG,
                            "Medicaid Drug Rebates - Improvements Needed in the
                            Health Care Financing Administration's Procedures to
                            Implement the Medicaid Drug Rebate Program" (A-06-
                            91-00102, Apr. 23, 1992);HHS-OIG, "Medicaid Drug



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                              Rebates - Inaccurate Reporting of Medicaid Drug Data
                              by Pharmacists" (A-06-91-00056, June 5, 1992); HHS-
                              OIG, "Medicaid Drug Rebates - The Health Care
                              Financing Administration Needs to Provide Additional
                              Guidance to Drug Manufacturers to Better Implement the
                              Program" (A-06-91-00092, Nov. 16, 1992); HHS-OIG,
                              "Review of Management Controls Over the Medicaid
                              Prescription Drug Rebate Program" (A-06-92-00029,
                              Jun. 9, 1993); HHS-OIG, "Audit of the Arkansas
                              Department of Human Services' Medicaid Drug
                              Prescriptions Drug Rebate Program" (A-06-93-00003,
                              July 30, 1993); HHS-OIG, "Elimination of the Weighted
                              Average Manufacturer Price Provisions of the Medicaid
                              Outpatient Prescription Drug Rebate Program" (A-06-93-
                              00070, Dec. 28,1993); HHS-OIG, "Medicaid Program
                              Savings Through the Use of Therapeutically Equivalent
                              Generic Drugs" (A-06-93-00008, July 7, 1994); HHS-
                              OIG, "Medicare Part B Reimbursement to Providers for
                              Drugs in Conjunction with Durable Medical Equipment"
                              (A-06-92-0079, Aug. 14, 1995); HHS-OIG, "Need to
                              Establish Connection Between the Calculation of
                              Medicaid Drug Rebates and Reimbursement for
                              Medicaid Drugs" (A-06-97-00052, May 8, 1998).
Beverly Churchwell, Alabama   Reimbursement methodologies used by the Alabama
Medicaid Agency               Medicaid Program; access to care; MAC; FUL;
                              dispensing fee
Cigna Government Services     Medicare reimbursement methodologies and setting of
                              policies for reimbursement; AWP; reimbursement limits
                              and modifiers; median AWP for therapeutic equivalent
                              drugs; the provider's usual and customary charge;
                              estimated acquisition cost; rates set by the Secretary
                              pursuant to "inherent reasonableness"; policies and the
                              establishment of policies for the reimbursement of
                              nebulizer drugs; prescriptions administered through
                              durable medical equipment; dispensing fees; audits of
                              reimbursement for prescriptions administered through
                              durable medical equipment; pricing arrays and
                              calculation of median AWP
Mary Beth Clarke, OEI         AWP; providers' acquisition costs; preparation of the
                              following OEI reports: Prescription Drug Promotion
                              Involving Payments and Gifts: Physicians' Perspectives,
                              OEI-0 1 -90-0048 1; Medicaid Drug Use Review
                              Programs, OEI-0 1 -92-00800; Medicare Payments For
                              Nebulizer Drugs, OEI-03-94-00390; A Comparison of
                              Albuterol Sulfate Prices, OEI-03-94-00392; Suppliers'
                              Acquisitions Costs for Albuterol Sulfate, OEI-03-94-


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                                 00393; Questionable Practices Involving Nebulizer Drug
                                 Therapy, OEI-03-94-00391; Prescription Drug
                                 Promotion Involving Payments and Gifts: Physicians'
                                 Perspectives, OEI-0 1 -90-0048 1; Medicaid Drug Use
                                 Review Programs, OEI-01-92-00800
Natalie Coen, OEI                AWP; providers' acquisition costs; preparation of the
                                 following OEI reports: Cost Containment of Medicaid
                                 HIV/AIDS Drug Expenditures, OEI-05-99-0061 l; State
                                 Strategies To Contain Medicaid Drug Costs, OEI-05-02-
                                 00680; Variation In State Medicaid Drug Prices, OEI-05-
                                 02-00681
Robin Colby, Ohio Medicaid       Reimbursement methodologies for prescription drugs
                                 under the Ohio Medicaid program; goals of the Ohio
                                 Medicaid program; access to care under the Ohio
                                 Medicaid program; actual acquisition cost; AWP;
                                 wholesale acquisition cost; AMP; ingredient cost; usual
                                 and customary charge; EAC; MAC; FULs; Medicaid
                                 rebates, including supplemental rebate agreements;
                                 dispensing fees and dispensing costs, including adequacy
                                 of dispensing fees; State Plans; audit reports and surveys
                                 regarding providers' acquisition costs and dispensing
                                 costs; providers' lobbying efforts and communications;
                                 meetings and communications of the State Medicaid
                                 Directors' Association
Theodore Collins, Wisconsin      Reimbursement methodologies for prescription drugs
DHS                              under the Wisconsin Medicaid program; AWP; WAC;
                                 AMP; actual acquisition cost; usual and customary
                                 charge; EAC; MAC; FUL; dispensing fees and
                                 dispensing costs, including adequacy of dispensing fees;
                                 audit reports and surveys regarding providers'
                                 acquisition costs and dispensing costs; providers'
                                 lobbying efforts and communications with DHFS;
                                 Medicaid statutes, regulations, rules, and policies;
                                 communications with drug manufacturers; markets for
                                 brand and generic drugs
Gary Crayton, Florida Agency     Reimbursement methodologies for prescription drugs
for Health Care Administration   under the Florida Medicaid program; goals of the Florida
("Florida AHCA")                 Medicaid program; access to care under the Florida
                                 Medicaid program; actual acquisition cost; AWP; WAC;
                                 AMP; ingredient cost; usual and customary charge; EAC;
                                 MAC; FULs; dispensing fees and dispensing costs,
                                 including adequacy of dispensing fees; State Plans; audit
                                 reports and surveys regarding providers' acquisition
                                 costs and dispensing costs; providers' lobbying efforts
                                 and communications with AHCA; Medicaid statutes,
                                 regulations, rules, policies, and handbooks;


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                                communications with drug manufacturers; Dey's price
                                reporting to AHCA and First DataBank; markets for
                                brand and generic drugs
Elizabeth Cusick, CMS           Methodologies, policies, and procedures concerning drug
                                reimbursement under Medicare or Medicaid;
                                implementation of those methodologies, policies, and
                                procedures
Myra Davis, Washington Social   Conduct of Washington's Medicaid program; goals of
and Heath Services Department   the Washington Medicaid program; United States'
                                alleged damages; reimbursement methodologies for
                                prescription drugs under the Washington Medicaid
                                program; access to care under the Washington Medicaid
                                program; actual acquisition cost; AWP; WAC, AMP;
                                URA; ingredient cost; usual and customary charge;
                                claims; providers; EAC; MAC; FULs; Medicaid rebates,
                                including supplemental rebate agreements; dispensing
                                fees and dispensing costs, including adequacy of
                                dispensing fees; State Plans; audit reports and surveys
                                regarding providers' acquisition costs and dispensing
                                costs; providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and
                                handbooks; communications with drug manufacturers;
                                claims processing; markets for brand and generic drugs;
                                Washington and HHS's knowledge of difference
                                between providers' average/actual acquisition costs and
                                published AWP and WAC; communications with HHS
                                and other employees of other state's Medicaid programs;
                                any topic discussed at deponent's deposition; pharmacy
                                profit margins; DOJ AWPs; meetings and
                                communications of the State Medicaid Directors'
                                Association or other similar groups.
Tricia Davis, OEI               AWP; providers' acquisition costs; preparation of the
7500 Security Boulevard         following OEI reports: State Strategies To Contain
Baltimore, Maryland 21244       Medicaid Drug Costs, OEI-05-02-00680; Variation In
(410) 786-3000                  State Medicaid Drug Prices, OEI-05 -02-0068 1; Addition
                                of Qualified Drugs to the Medicaid Federal Upper Limit
                                List, OEI-03-04-00320; Medicaid Drug Price
                                Comparisons: Average Manufacturer Price To Published
                                Prices, OEI-05-05-00240; How Inflated Published Prices
                                Affect Drugs Considered for the Federal Upper Limit
                                List, OEI-03-05-00350; A Comparison of Average Sales
                                Prices To Widely Available Market Prices: Fourth
                                Quarter 2005, OEI-03-05-00430; Generic Drug
                                Utilization in State Medicaid Programs, OEI-05-05-
                                00360
Christopher Decker, Pharmacy    Dispensing fees and dispensing costs, including


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Society of Wisconsin         adequacy of dispensing fees; reimbursement
                             methodologies for prescription drugs under the
                             Wisconsin Medicaid program; providers' lobbying
                             efforts and communications with the Wisconsin
                             Medicaid program; pharmacy profit margins; cost-
                             savings measures
Nancy-Ann Min DeParle, CMS   Reimbursement methodologies for prescription drugs
                             under the Medicare and Medicaid programs; goals of the
                             Medicare and Medicaid programs; access to care under
                             the Medicare and Medicaid programs; actual acquisition
                             cost; AWP; WAC; AMP; Best Price; ASP; ingredient
                             cost; usual and customary charge; EAC; MAC; FUL;
                             Medicaid rebates and Medicaid rebate agreements;
                             dispensing fees and dispensing costs, including adequacy
                             of dispensing fees; approval of State Medicaid plans;
                             federal funding of State Medicaid programs; audit
                             reports and surveys regarding providers' acquisition
                             costs and dispensing costs; providers' lobbying efforts
                             and communications with HCFA/CMS; Medicaid and
                             Medicare statutes, regulations, rules, and policies;
                             communications with drug manufacturers; markets for
                             brand and generic drugs; inherent reasonableness
                             authority; Medicare carriers and authority to set
                             reimbursement rates
Cynthia R. Denemark,         Reimbursement methodologies for prescription drugs
Electronic Data Systems      under the Delaware Medicaid program; access to care
                             under the Delaware Medicaid program; actual acquisition
                             cost; AWP; WAC; AMP; URA; ingredient cost; usual
                             and customary charge; EAC; MAC; FUL; Medicaid
                             rebates, including supplemental rebate agreements;
                             dispensing fees and dispensing costs, including adequacy
                             of dispensing fees; State Plans; audit reports and surveys
                             regarding providers' acquisition costs and dispensing
                             costs; Revised 2000 AWPs.
Lynn Donovan, Hawaii DHS     Reimbursement methodologies for prescription drugs
                             under the Hawaii Medicaid program; dispensing fees and
                             dispensing costs, including adequacy of dispensing fees;
                             access to care under the Hawaii Medicaid program;
                             actual acquisition cost; AWP; wholesale acquisition cost
                             ("WAC"); AMP; ingredient cost; usual and customary
                             charge; estimated acquisition cost ("EAC"); MAC; FUL;
                             State Plans; audit reports and surveys regarding
                             providers' acquisition costs and dispensing costs;
                             providers' lobbying efforts and communications with
                             Hawaii Medicaid; Medicaid statutes, regulations, rules,
                             and policies; communications with drug manufacturers;


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                                markets for brand and generic drugs; cost saving
                                measures considered by the Hawaii Medicaid program
Duane Drindenburg, Kentucky     Conduct of Kentucky's Medicaid program; goals of the
DMS                             Kentucky Medicaid program; United States' alleged
                                damages; reimbursement methodologies for prescription
                                drugs under the Kentucky Medicaid program; access to
                                care under the Kentucky Medicaid program; actual
                                acquisition cost; AWP; WAC, AMP; URA; ingredient
                                cost; usual and customary charge; claims; providers;
                                EAC; MAC; FULs; Medicaid rebates, including
                                supplemental rebate agreements; dispensing fees and
                                dispensing costs, including adequacy of dispensing fees;
                                State Plans; audit reports and surveys regarding
                                providers' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and
                                handbooks; communications with drug manufacturers;
                                claims processing; markets for brand and generic drugs;
                                Kentucky and HHS's knowledge of difference between
                                providers' average/actual acquisition costs and published
                                AWP and WAC; communications with HHS and other
                                employees of other state's Medicaid programs; any topic
                                discussed at deponent's deposition; pharmacy profit
                                margins; DOJ AWPs; meetings and communications of
                                the State Medicaid Directors' Association or other
                                similar groups.
Charles Duarte, Nevada          Cost saving measures considered by the Nevada and
Division of Health Care         Hawaii Medicaid programs; reimbursement
Financing and Policy ("Nevada   methodologies for prescription drugs under the Nevada
DHCFP"), Hawaii Medicaid        and Hawaii Medicaid programs; actual acquisition costs;
                                AWP; access to care under the Nevada and Hawaii
                                Medicaid programs
Jerry Dubberly, Georgia         Conduct of Georgia's Medicaid program; goals of the
Department of Community         Georgia Medicaid program; United States' alleged
Health                          damages; reimbursement methodologies for prescription
                                drugs under the Georgia Medicaid program; access to
                                care under the Georgia Medicaid program; actual
                                acquisition cost; AWP; WAC, AMP; URA; ingredient
                                cost; usual and customary charge; claims; providers;
                                EAC; MAC; FULs; Medicaid rebates, including
                                supplemental rebate agreements; dispensing fees and
                                dispensing costs, including adequacy of dispensing fees;
                                State Plans; audit reports and surveys regarding
                                providers' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and


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                            handbooks; communications with drug manufacturers;
                            claims processing; markets for brand and generic drugs;
                            Georgia and HHS's knowledge of difference between
                            providers ' average/actual acquisition costs and published
                            AWP and WAC; communications with HHS and other
                            employees of other state's Medicaid programs; any topic
                            discussed at deponent's deposition; pharmacy profit
                            margins; DOJ AWPs; meetings and communications of
                            the State Medicaid Directors' Association or other
                            similar groups.
Evelyn Dudley               Pharmacy profit margins; reimbursement methodologies
Connecticut DSS             under the Connecticut Medicaid program; providers'
                            communications with Connecticut Medicaid program;
                            State Plans; alternative reimbursement benchmarks;
                            dispensing fees and dispensing costs, including adequacy
                            of dispensing fees; State Plans; providers' actual
                            acquisition costs; cost saving measures related to
                            considered by the Connecticut Medicaid program; FULs;
                            AWP; access to care under the Medicaid program
Gary P. Duerr, Idaho        Conduct of Idaho's Medicaid program; goals of the
Department of Health and    Idaho Medicaid program; United States' alleged
Welfare                     damages; reimbursement methodologies for prescription
                            drugs under the Idaho Medicaid program; access to care
                            under the Idaho Medicaid program; actual acquisition
                            cost; AWP; WAC, AMP; URA; ingredient cost; usual
                            and customary charge; claims; providers; EAC; MAC;
                            FULs; Medicaid rebates, including supplemental rebate
                            agreements; dispensing fees and dispensing costs,
                            including adequacy of dispensing fees; State Plans; audit
                            reports and surveys regarding providers' acquisition
                            costs and dispensing costs; providers' lobbying efforts
                            and communications; Medicaid statutes , regulations,
                            rules, policies, and handbooks; communications with
                            drug manufacturers; claims processing; markets for
                            brand and generic drugs; Idaho and HHS's knowledge of
                            difference between providers' average/actual acquisition
                            costs and published AWP and WAC; communications
                            with HHS and other employees of other state's Medicaid
                            programs; any topic discussed at deponent's deposition;
                            pharmacy profit margins; DOJ AWPs; meetings and
                            communications of the State Medicaid Directors'
                            Association or other similar groups.
Tanaz Dutia, OEI            AWP; providers' acquisition costs preparation of the
7500 Security Boulevard     following OEI reports: Medicaid Recovery of Pharmacy
Baltimore, Maryland 21244   Payments from Liable Third Parties, OEI-03-00-00030;
(410) 786-3000              Omission of Drugs from The Federal Upper Limit List in


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                               2001, OEI-03-02-00670; Monitoring Medicare Part B
                               Drug Prices: A Comparison of Average Sales Prices To
                               Average Manufacturer Prices, OEI-03-04-00430; A
                               Comparison of Average Sales Prices To Widely
                               Available Market Prices: Fourth Quarter 2005, OEI-03-
                               05-00430
Deirdre Duzor, CMS             Methodologies, policies, and procedures concerning drug
7500 Security Boulevard        reimbursement under Medicare or Medicaid;
Baltimore, Maryland 21244      implementation of those methodologies, policies, and
(410) 786-3000                 procedures; Medicaid Drug Rebate Program; setting and
                               establishment of FULs; the FUL program
Nancy Ellery, Montana DPHHS    Cost saving measures considered by the Montana
                               Medicaid program; access to care under the Montana
                               Medicaid program; Best Price; AMP; WAC; AWP;
                               actual acquisition costs; dispensing fees and dispensing
                               costs, including adequacy of dispensing fees
Ayana Everett, OEI             AWP; providers' acquisition costs; preparation of the
7500 Security Boulevard        following OEI report: Review of 340B Prices, OEI-05-
Baltimore, Maryland 21244      02-00073
(410) 786-3000
Kevin Farber, OEI              AWP; providers' acquisition costs; preparation of the
7500 Security Boulevard        following OEI report: Review of 340B Prices, OEI-05-
Baltimore, Maryland 21244      02-00073
(410) 786-3000
Lisa Farrand, New Hampshire    Reimbursement methodologies for prescription drugs
Department of Health and       under the New Hampshire Medicaid program; ingredient
Human Services                 cost; usual and customary charge; EAC; providers;
                               claims; dispensing fees; MAC; FULs; audits; state plan
                               amendments; DOJ AWPs; AWP; Medicaid regulations;
                               third party payors in New Hampshire

Rick Fenton, CMS               Methodologies, policies, and procedures concerning drug
7500 Security Boulevard        reimbursement under Medicare or Medicaid;
Baltimore, Maryland 21244      implementation of those methodologies, policies, and
(410) 786-3000                 procedures; Medicaid Drug Rebate Program
Mary Finch, Alabama Medicaid   Reimbursement methodologies used by the Alabama
Agency                         Medicaid Program; access to care; Alabama Medicaid's
                               MAC program; FUL; dispensing fee
Joseph Fine, Maryland          Conduct of Maryland's Medicaid program; goals of the
Department of Health and       Maryland Medicaid program; United States' alleged
Mental Hygiene ("DHMH")        damages; reimbursement methodologies for prescription
                               drugs under the Maryland Medicaid program; access to
                               care under the Maryland Medicaid program; actual
                               acquisition cost; AWP; WAC, AMP; URA; ingredient
                               cost; usual and customary charge; claims; providers;
                               EAC; MAC; FULs; Medicaid rebates, including


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                              supplemental rebate agreements; dispensing fees and
                              dispensing costs, including adequacy of dispensing fees;
                              State Plans; audit reports and surveys regarding
                              providers' acquisition costs and dispensing costs;
                              providers' lobbying efforts and communications;
                              Medicaid statutes, regulations, rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs;
                              Maryland and HHS's knowledge of difference between
                              providers' average/actual acquisition costs and published
                              AWP and WAC; communications with HHS and other
                              employees of other state's Medicaid programs; any topic
                              discussed at deponent's deposition; pharmacy profit
                              margins; DOJ AWPs; meetings and communications of
                              the State Medicaid Directors' Association or other
                              similar groups.
Ronni Fitzwater, Missouri     Dispensing fees and dispensing costs, including
Pharmacy Association          adequacy of dispensing fees; access to care under the
                              Missouri Medicaid program; AWP; pharmacy profit
                              margins; providers' lobbying efforts and communications
                              with the Missouri Medicaid program
First Coast Service Options   Medicare reimbursement methodologies and setting of
                              policies for reimbursement; AWP; reimbursement limits
                              and modifiers; median AWP for therapeutic equivalent
                              drugs; the provider's usual and customary charge;
                              estimated acquisition cost; rates set by the Secretary
                              pursuant to "inherent reasonableness"; policies and the
                              establishment of policies for the reimbursement of
                              nebulizer drugs; prescriptions administered through
                              durable medical equipment; dispensing fees; audits of
                              reimbursement for prescriptions administered through
                              durable medical equipment; pricing arrays and
                              calculation of median AWP
Lisa A. Foley, OEI            AWP; providers' acquisition costs; preparation of the
                              following OEI reports: Excessive Medicare Payments
                              for Prescription Drugs, OEI-03-97-00290; The Impact of
                              High-Priced Generic Drugs on Medicare and Medicaid,
                              OEI-03 -97-005 10; Are Medicare Allowances for
                              Albuterol Sulfate Reasonable?, OEI-03-97-00292;
                              Comparing Drug Reimbursement: Medicare and
                              Department of Veterans Affairs, OEI-03-97-00293
Karen Folk, OEI               AWP; providers' acquisition costs; preparation of the
                              following OEI report: Suppliers' Acquisitions Costs for
                              Albuterol Sulfate, OEI-03-94-00393; Questionable
                              Practices Involving Nebulizer Drug Therapy, OEI-03-94-
                              00391


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Linda Frisch, OEI             AWP; providers' acquisition costs; preparation of the
                              following OEI reports: Medicaid Recovery of Pharmacy
                              Payments from Liable Third Parties, OEI-03-00-00030;
                              Medicaid's Use of Revised Average Wholesale Prices,
                              OEI-03-01-00010; State Strategies To Contain Medicaid
                              Drug Costs, OEI-05-02-00680; Update: Excessive
                              Medicare Reimbursement For Ipratropium Bromide,
                              OEI-03-03-00520; Update: Excessive Medicare
                              Reimbursement For Albuterol, OEI-03 -03 -005 10;
                              Omission of Drugs from The Federal Upper Limit List in
                              2001, OEI-03-02-00670; Variation In State Medicaid
                              Drug Prices, OEI-05-02-00681
Sue Gaston, CMS               Reimbursement methodologies for prescription drugs
                              under the Medicare and Medicaid programs; goals of the
                              Medicare and Medicaid programs; access to care under
                              the Medicare and Medicaid programs; actual acquisition
                              cost; AWP; WAC; AMP; Best Price; average sales price
                              ("ASP"); ingredient cost; usual and customary charge;
                              EAC; MAC; FUL; Medicaid rebates and Medicaid rebate
                              agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; approval of State
                              Medicaid plans; federal funding of State Medicaid
                              programs; audit reports and surveys regarding providers'
                              acquisition costs and dispensing costs; providers'
                              lobbying efforts and communications with HCFA/CMS;
                              Medicaid and Medicare statutes, regulations, rules, and
                              policies; communications with drug manufacturers;
                              markets for brand and generic drugs; inherent
                              reasonableness authority; Medicare carriers and authority
                              to set reimbursement rates
Jennifer Gera, OEI            AWP; providers' acquisition costs; preparation of the
                              following OEI report: State Strategies To Contain
                              Medicaid Drug Costs, OEI-05-02-00680
Rob Gibbons, OEI              AWP; providers' acquisition costs; preparation of the
7500 Security Boulevard       following OEI report: Review Of Services Provided By
Baltimore, Maryland 21244     Inhalation Drug Suppliers, OEI-01-05-00090
(410) 786-3000
Gary Gilmore, Massachusetts   Providers' acquisition costs; pharmacy economics;
Medicaid                      access to care; WAC; AMP; AWP. Was also the Mass.
                              Medicaid correspondent for Dey's price notification
                              letters.




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Patricia Gladden, Texas        Reimbursement methodologies for prescription drugs
Medicaid Vendor Drug Program   under the Texas Medicaid program; AWP; WAC; usual
("Texas VDP")                  and customary charge; access to care under the Medicaid
                               program; dispensing fees and dispensing costs, including
                               adequacy of dispensing fees; AMP; Medicaid rebates,
                               including supplemental rebate agreements; dispensing
                               fees and dispensing costs, including adequacy of
                               dispensing fees; State Plans; audit reports and surveys
                               regarding providers' acquisition costs and dispensing
                               costs; providers' lobbying efforts and communications;
                               meetings and communications of the State Medicaid
                               Directors' Association
Amie Goldman, Wisconsin        Conduct of Wisconsin's Medicaid program; goals of the
DHS                            Wisconsin Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Wisconsin Medicaid program; access to
                               care under the Wisconsin Medicaid program; actual
                               acquisition cost; AWP; WAC, AMP; URA; ingredient
                               cost; usual and customary charge; claims; providers;
                               EAC; MAC; FULs; Medicaid rebates, including
                               supplemental rebate agreements; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees;
                               State Plans; audit reports and surveys regarding
                               providers' acquisition costs and dispensing costs;
                               providers' lobbying efforts and communications;
                               Medicaid statutes, regulations, rules, policies, and
                               handbooks; communications with drug manufacturers;
                               claims processing; markets for brand and generic drugs;
                               Wisconsin and HHS's knowledge of difference between
                               providers' average/actual acquisition costs and published
                               AWP and WAC; communications with HHS and other
                               employees of other state's Medicaid programs; any topic
                               discussed at deponent's deposition; pharmacy profit
                               margins; DOJ AWPs; meetings and communications of
                               the State Medicaid Directors' Association or other
                               similar groups.
Kevin Gorospe California       Reimbursement methodologies for prescription drugs
DHCS                           under the California Medicaid program; dispensing fees
                               and dispensing costs, including adequacy of dispensing
                               fees; access to care under the California Medicaid
                               program; actual acquisition cost; AWP; wholesale
                               acquisition cost ("WAC"); AMP; ingredient cost; usual
                               and customary charge; estimated acquisition cost
                               ("EAC"); MAC; FUL; State Plans; audit reports and
                               surveys regarding providers' acquisition costs and
                               dispensing costs; providers' lobbying efforts and


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                               communications with California Medicaid; Medicaid
                               statutes, regulations, rules, and policies; communications
                               with drug manufacturers; markets for brand and generic
                               drugs; cost saving measures considered by the California
                               Medicaid program
David Graf, OEI                AWP; providers' acquisition costs; preparation of the
7500 Security Boulevard        following OEI reports: Medicare Payments For
Baltimore, Maryland 21244      Nebulizer Drugs, OEI-03-94-00390; Questionable
(410) 786-3000                 Practices Involving Nebulizer Drug Therapy, OEI-03-94-
                               00391; The Impact of High-Priced Generic Drugs on
                               Medicare and Medicaid, OEI-03 -97-005 10; Review Of
                               Services Provided By Inhalation Drug Suppliers, OEI-
                               01-05-00090

Carrie Gray, Wisconsin DHS     Reimbursement methodologies for prescription drugs
                               under the Wisconsin Medicaid program; AWP; WAC;
                               actual acquisition cost; dispensing fees and dispensing
                               costs, including adequacy of dispensing fees; audit
                               reports and surveys regarding providers' acquisition
                               costs and dispensing costs; providers' lobbying efforts
                               and communications with DHFS
Steven Grossman,               Dispensing fees and dispensing costs, including
Massachusetts Pharmacists      adequacy of dispensing fees; access to care under the
Association                    Massachusetts Medicaid program; AWP; pharmacy
                               profit margins; access to care; providers' lobbying efforts
                               and communications with the Massachusetts Medicaid
                               program
Thomas Gustafson, Ph.D., CMS   Methodologies, policies, and procedures concerning drug
                               reimbursement under Medicare or Medicaid;
                               implementation of those methodologies, policies, and
                               procedures
Joyce M. Greenleaf, OEI        AWP; providers' acquisition costs; preparation of the
7500 Security Boulevard        following OEI report: Review Of Services Provided By
Baltimore, Maryland 21244      Inhalation Drug Suppliers, OEI-01-05-00090
(410) 786-3000
Anne Haase, former North       Conduct of North Dakota's Medicaid program; goals of
Dakota Department of Human     the North Dakota Medicaid program; United States'
Services                       alleged damages; reimbursement methodologies for
                               prescription drugs under the North Dakota Medicaid
                               program; access to care under the North Dakota
                               Medicaid program; actual acquisition cost; AWP; WAC,
                               AMP; URA; ingredient cost; usual and customary
                               charge; claims; providers; EAC; MAC; FULs; Medicaid
                               rebates, including supplemental rebate agreements;
                               dispensing fees and dispensing costs, including adequacy
                               of dispensing fees; State Plans; audit reports and surveys


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                               regarding providers' acquisition costs and dispensing
                               costs; providers' lobbying efforts and communications;
                               Medicaid statutes, regulations, rules, policies, and
                               handbooks; communications with drug manufacturers;
                               claims processing; markets for brand and generic drugs;
                               North Dakota and HHS's knowledge of difference
                               between providers' average/actual acquisition costs and
                               published AWP and WAC; communications with HHS
                               and other employees of other state's Medicaid programs;
                               any topic discussed at deponent's deposition; pharmacy
                               profit margins; DOJ AWPs; meetings and
                               communications of the State Medicaid Directors'
                               Association or other similar groups.
Kathy Hall, Alabama Medicaid   Access to care under the Alabama Medicaid Program;
Agency                         preferred drug list
Rita Hallett, Wisconsin DHS    Conduct of Wisconsin's Medicaid program; goals of the
                               Wisconsin Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Wisconsin Medicaid program; access to
                               care under the Wisconsin Medicaid program; actual
                               acquisition cost; AWP; WAC, AMP; URA; ingredient
                               cost; usual and customary charge; claims; providers;
                               EAC; MAC; FULs; Medicaid rebates, including
                               supplemental rebate agreements; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees;
                               State Plans; audit reports and surveys regarding
                               providers' acquisition costs and dispensing costs;
                               providers' lobbying efforts and communications;
                               Medicaid statutes, regulations, rules, policies, and
                               handbooks; communications with drug manufacturers;
                               claims processing; markets for brand and generic drugs;
                               Wisconsin and HHS's knowledge of difference between
                               providers' average/actual acquisition costs and published
                               AWP and WAC; communications with HHS and other
                               employees of other state's Medicaid programs; any topic
                               discussed at deponent's deposition; pharmacy profit
                               margins; DOJ AWPs; meetings and communications of
                               the State Medicaid Directors' Association or other
                               similar groups.
Peggy Handrich, Wisconsin      Conduct of Wisconsin's Medicaid program; goals of the
DHS                            Wisconsin Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Wisconsin Medicaid program; access to
                               care under the Wisconsin Medicaid program; actual
                               acquisition cost; AWP; WAC, AMP; URA; ingredient
                               cost; usual and customary charge; claims; providers;


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                             EAC; MAC; FULs; Medicaid rebates, including
                             supplemental rebate agreements; dispensing fees and
                             dispensing costs, including adequacy of dispensing fees;
                             State Plans; audit reports and surveys regarding
                             providers ' acquisition costs and dispensing costs;
                             providers' lobbying efforts and communications;
                             Medicaid statutes, regulations , rules, policies, and
                             handbooks; communications with drug manufacturers;
                             claims processing; markets for brand and generic drugs;
                             Wisconsin and HHS's knowledge of difference between
                             providers ' average/actual acquisition costs and published
                             AWP and WAC; communications with HHS and other
                             employees of other state's Medicaid programs; any topic
                             discussed at deponent's deposition; pharmacy profit
                             margins; DOJ AWPs; meetings and communications of
                             the State Medicaid Directors' Association or other
                             similar groups.
T. Allen Hansen, Myers and   Preparation and methodology of surveys and reports
Stauffer LLC                 regarding providers' acquisition and dispensing costs;
                             calculation of state MACS; communications with State
                             Medicaid officials and others; adequacy of
                             reimbursement, and related matters
Cynthia Hansford, OEI        AWP; providers' acquisition costs; preparation of the
7500 Security Boulevard      following OEI reports: Medicare Payments For
Baltimore, Maryland 21244    Nebulizer Drugs, OEI-03-94-00390; A Comparison of
(410) 786-3000               Albuterol Sulfate Prices, OEI-03-94-00392; Questionable
                             Practices Involving Nebulizer Drug Therapy, OEI-03-94-
                             00391; Medicare Reimbursement for Parental Nutrition,
                             OEI-03-96-00230; Excessive Medicare Payments for
                             Prescription Drugs, OEI-03-97-00290; The Impact of
                             High-Priced Generic Drugs on Medicare and Medicaid,
                             OEI-03 -97-005 10; Are Medicare Allowances for
                             Albuterol Sulfate Reasonable?, OEI-03-97-00292;
                             Update: Excessive Medicare Reimbursement For
                             Ipratropium Bromide, OEI-03-03-00520; Update:
                             Excessive Medicare Reimbursement For Albuterol, OEI-
                             03-03-00510
Claire Hardwick, CMS         Reimbursement methodologies for prescription drugs
                             under the Medicare and Medicaid programs; goals of the
                             Medicare and Medicaid programs; access to care under
                             the Medicare and Medicaid programs; actual acquisition
                             cost; AWP; WAC; AMP ; Best Price; average sales price
                             ("ASP"); ingredient cost; usual and customary charge;
                             EAC; MAC; FUL; Medicaid rebates and Medicaid rebate
                             agreements; dispensing fees and dispensing costs,
                             including adequacy of dispensing fees; approval of State


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                               Medicaid plans; federal funding of State Medicaid
                               programs; audit reports and surveys regarding providers'
                               acquisition costs and dispensing costs; providers'
                               lobbying efforts and communications with HCFA/CMS;
                               Medicaid and Medicare statutes, regulations, rules, and
                               policies; communications with drug manufacturers;
                               markets for brand and generic drugs; inherent
                               reasonableness authority; Medicare carriers and authority
                               to set reimbursement rates
Robert Preston Harris, Texas   Reimbursement methodologies for prescription drugs
VDP                            under the Texas Medicaid program; AWP; WAC; actual
                               acquisition costs; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees
Michael Hash, CMS              Methodologies, policies, and procedures concerning drug
                               reimbursement under Medicare or Medicaid;
                               implementation of those methodologies, policies, and
                               procedures
Ayumi Hautea-Wimpee,           Conduct of Washington's Medicaid program; goals of
Washington Social and Heath    the Washington Medicaid program; United States'
Services Department            alleged damages; reimbursement methodologies for
                               prescription drugs under the Washington Medicaid
                               program; access to care under the Washington Medicaid
                               program; actual acquisition cost; AWP; WAC, AMP;
                               URA; ingredient cost; usual and customary charge;
                               claims; providers; EAC; MAC; FULs; Medicaid rebates,
                               including supplemental rebate agreements; dispensing
                               fees and dispensing costs, including adequacy of
                               dispensing fees; State Plans; audit reports and surveys
                               regarding providers' acquisition costs and dispensing
                               costs; providers' lobbying efforts and communications;
                               Medicaid statutes, regulations, rules, policies, and
                               handbooks; communications with drug manufacturers;
                               claims processing; markets for brand and generic drugs;
                               Washington and HHS's knowledge of difference
                               between providers' average/actual acquisition costs and
                               published AWP and WAC; communications with HHS
                               and other employees of other state's Medicaid programs;
                               any topic discussed at deponent's deposition; pharmacy
                               profit margins; DOJ AWPs; meetings and
                               communications of the State Medicaid Directors'
                               Association or other similar groups.
Keith Hayashi, Virginia DMAS   Conduct of Virginia's Medicaid program; goals of the
                               Virginia Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Virginia Medicaid program; access to
                               care under the Virginia Medicaid program; actual


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                               acquisition cost; AWP; WAC, AMP; URA; ingredient
                               cost; usual and customary charge; claims; providers;
                               EAC; MAC; FULs; Medicaid rebates, including
                               supplemental rebate agreements; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees;
                               State Plans; audit reports and surveys regarding
                               providers' acquisition costs and dispensing costs;
                               providers' lobbying efforts and communications;
                               Medicaid statutes, regulations , rules, policies, and
                               handbooks; communications with drug manufacturers;
                               claims processing; markets for brand and generic drugs;
                               Virginia and HHS's knowledge of difference between
                               providers ' average/actual acquisition costs and published
                               AWP and WAC; communications with HHS and other
                               employees of other state's Medicaid programs; any topic
                               discussed at deponent's deposition; pharmacy profit
                               margins; DOJ AWPs; meetings and communications of
                               the State Medicaid Directors' Association or other
                               similar groups.
Marvin Hazelwood , Illinois    Conduct of Illinois's Medicaid program; goals of the
Department of Healthcare and   Illinois Medicaid program; United States' alleged
Family Services                damages; reimbursement methodologies for prescription
                               drugs under the Illinois Medicaid program; access to care
                               under the Illinois Medicaid program; actual acquisition
                               cost; AWP; WAC, AMP; URA; ingredient cost; usual
                               and customary charge; claims; providers; EAC; MAC;
                               FULs; Medicaid rebates, including supplemental rebate
                               agreements; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees; State Plans; audit
                               reports and surveys regarding providers' acquisition
                               costs and dispensing costs; providers' lobbying efforts
                               and communications ; Medicaid statutes , regulations,
                               rules, policies, and handbooks; communications with
                               drug manufacturers; claims processing; markets for
                               brand and generic drugs; Illinois and HHS's knowledge
                               of difference between providers' average/actual
                               acquisition costs and published AWP and WAC;
                               communications with HHS and other employees of other
                               state's Medicaid programs; any topic discussed at
                               deponent's deposition; pharmacy profit margins; DOJ
                               AWPs; meetings and communications of the State
                               Medicaid Directors ' Association or other similar groups.
Russell W. Hereford, OEI       AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW    following OEI report: Review Of Services Provided By
Room 5660                      Inhalation Drug Suppliers , OEI-01-05-00090
Washington, D.C. 20201


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Carol Herrman-Steckel,         Access to care under the Alabama Medicaid Program;
Alabama Medicaid Agency        AWP; actual acquisition costs; reimbursement
                               methodologies for prescription drugs under the Alabama
                               Medicaid Program; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees
William Hickman, CMS           Methodologies, policies, and procedures concerning drug
                               reimbursement under Medicare or Medicaid;
                               implementation of those methodologies, policies, and
                               procedures; Medicaid Drug Rebate Program
Aileen Hiramatsu, Hawaii DHS   Reimbursement methodologies for prescription drugs
                               under the Hawaii Medicaid program; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees;
                               access to care under the Hawaii Medicaid program;
                               actual acquisition cost; AWP; wholesale acquisition cost
                               ("WAC"); AMP; ingredient cost; usual and customary
                               charge; estimated acquisition cost ("EAC"); MAC; FUL;
                               State Plans; audit reports and surveys regarding
                               providers' acquisition costs and dispensing costs;
                               providers' lobbying efforts and communications with
                               Hawaii Medicaid; Medicaid statutes, regulations, rules,
                               and policies; communications with drug manufacturers;
                               markets for brand and generic drugs; cost saving
                               measures considered by the Hawaii Medicaid program
Roxanne Homar, Wyoming         Conduct of Wyoming's Medicaid program; goals of the
Department of Health           Wyoming Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Wyoming Medicaid program; access to
                               care under the Wyoming Medicaid program; actual
                               acquisition cost; AWP; WAC, AMP; URA; ingredient
                               cost; usual and customary charge; claims; providers;
                               EAC; MAC; FULs; Medicaid rebates, including
                               supplemental rebate agreements; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees;
                               State Plans; audit reports and surveys regarding
                               providers' acquisition costs and dispensing costs;
                               providers' lobbying efforts and communications;
                               Medicaid statutes, regulations, rules, policies, and
                               handbooks; communications with drug manufacturers;
                               claims processing; markets for brand and generic drugs;
                               Wyoming and HHS's knowledge of difference between
                               providers' average/actual acquisition costs and published
                               AWP and WAC; communications with HHS and other
                               employees of other state's Medicaid programs; any topic
                               discussed at deponent's deposition; pharmacy profit
                               margins; DOJ AWPs; meetings and communications of


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                                  the State Medicaid Directors' Association or other
                                  similar groups.
Lynette Honbo, Hawaii DHS         Conduct of Hawaii's Medicaid program; goals of the
                                  Hawaii Medicaid program; United States' alleged
                                  damages; reimbursement methodologies for prescription
                                  drugs under the Hawaii Medicaid program; access to care
                                  under the Hawaii Medicaid program; actual acquisition
                                  cost; AWP; WAC, AMP; URA; ingredient cost; usual
                                  and customary charge; claims; providers; EAC; MAC;
                                  FULs; Medicaid rebates, including supplemental rebate
                                  agreements; dispensing fees and dispensing costs,
                                  including adequacy of dispensing fees; State Plans; audit
                                  reports and surveys regarding providers' acquisition
                                  costs and dispensing costs; providers' lobbying efforts
                                  and communications; Medicaid statutes , regulations,
                                  rules, policies, and handbooks; communications with
                                  drug manufacturers; claims processing; markets for
                                  brand and generic drugs; Hawaii and HHS's knowledge
                                  of difference between providers' average/actual
                                  acquisition costs and published AWP and WAC;
                                  communications with HHS and other employees of other
                                  state's Medicaid programs; any topic discussed at
                                  deponent's deposition; pharmacy profit margins; DOJ
                                  AWPs; meetings and communications of the State
                                  Medicaid Directors' Association or other similar groups.
John Hoover, Technical            Procedures followed by states in seeking FMAP share of
Director, Division of Financial   Medicaid expenditures; the automated Medicaid Budget
Management, Center for            and Expenditure system/State Children's Health
Medicare and Medicaid             Insurance Program Budget and Expenditure System,
Services                          Form CMS-37; Form CMS-64; Form CMS-21; Financial
                                  Management Reports; CMS Form-151
Scott Horning, OEI                AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW       following OEI reports: Medicare Reimbursement of End
Room 5660                         Stage Renal Disease Drugs, OEI-03-00-00020; Medicaid
Washington, D.C. 20201            Drug Price Comparisons: Average Manufacturer Price
(202) 619-0480                    To Published Prices, OEI-05-05-00240
Charles Hunter, Montana           Cost saving measures considered by the Montana
DPHHS                             Medicaid program; dispensing fees and dispensing costs,
                                  including adequacy of dispensing fees; reimbursement
                                  methodologies for prescription drugs under the Montana
                                  Medicaid program
Jeffrey Ireland, Montana          Cost saving measures considered by the Montana
DPHHS                             Medicaid program; AWP; actual acquisition costs;
                                  dispensing fees and dispensing costs, including adequacy
                                  of dispensing fees
Larry Iversen, South Dakota       Conduct of South Dakota's Medicaid program; goals of


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Department of Social Services   the South Dakota Medicaid program; United States'
                                alleged damages; reimbursement methodologies for
                                prescription drugs under the South Dakota Medicaid
                                program; access to care under the South Dakota
                                Medicaid program; actual acquisition cost; AWP; WAC,
                                AMP; URA; ingredient cost; usual and customary
                                charge; claims; providers; EAC; MAC; FULs; Medicaid
                                rebates, including supplemental rebate agreements;
                                dispensing fees and dispensing costs, including adequacy
                                of dispensing fees; State Plans; audit reports and surveys
                                regarding providers' acquisition costs and dispensing
                                costs; providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and
                                handbooks; communications with drug manufacturers;
                                claims processing; markets for brand and generic drugs;
                                South Dakota and HHS's knowledge of difference
                                between providers' average/actual acquisition costs and
                                published AWP and WAC; communications with HHS
                                and other employees of other state's Medicaid programs;
                                any topic discussed at deponent's deposition; pharmacy
                                profit margins; DOJ AWPs; meetings and
                                communications of the State Medicaid Directors'
                                Association or other similar groups.
Ben Jackson, OIG                OIG investigations of pharmacy acquisition costs; AWP;
                                rebates, and other payments under Medicaid and
                                Medicare; providers' acquisition costs; preparation of the
                                following OEI reports: HHS-OIG, "Review of Pharmacy
                                Acquisition Costs for Drugs Reimbursed Under the
                                Medicaid Prescription Drug Program of the California
                                Department of Health Services" (A-06-95-00062, May
                                31, 1996); HHS-OIG, "Review of Pharmacy Acquisition
                                Costs for Drugs Reimbursed Under the Medicaid
                                Prescription Drug Program of the Montana Department
                                of Public Health and Human Services" (A-06-95-00068,
                                Jul. 11, 1996); HHS-OIG, "Review of Pharmacy
                                Acquisition Costs for Drugs Reimbursed Under the
                                Medicaid Prescription Drug Program of the Florida
                                Agency for Health Administration" (A-06-95-00065,
                                Aug. 13, 1996); HHS-OIG, "Review of Pharmacy
                                Acquisition Costs for Drugs Reimbursed Under the
                                Medicaid Prescription Drug Program of the North
                                Carolina Department of Human Resources" (A-06-95-
                                00071, Sep. 4, 1996); HHS-OIG, "Review of Pharmacy
                                Acquisition Costs for Drugs Reimbursed Under the
                                Medicaid Prescription Drug Program of the Delaware
                                Department of Health and Human Service" (A-06-95-


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                            00063, Sep. 12, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the Virginia
                            Department of Medical Assistance Services" (A-06-95-
                            00072, Nov. 21, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the New Jersey
                            Department of Human Services" (A-06-95-00070, Dec.
                            6, 1996); HHS-OIG, "Review of Pharmacy Acquisition
                            Costs for Drugs Reimbursed Under the Medicaid
                            Prescription Drug Program of the Nebraska Department
                            of Social Services" (A-06-95-00069, Dec. 24, 1996);
                            HHS-OIG, "Review of Pharmacy Acquisition Costs for
                            Drugs Reimbursed Under the Medicaid Prescription
                            Drug Program of the Missouri Department of Social
                            Services" (A-06-95-00067, Jan. 21, 1997); HHS-OIG,
                            "Review of Pharmacy Acquisition Costs for Drugs
                            Reimbursed Under the Medicaid Prescription Drug
                            Program of the District of Columbia Department of
                            Human Services" (A-06-95-00064, Jan. 31, 1997);
                            HHS-OIG, "Review of Pharmacy Acquisition Costs for
                            Drugs Reimbursed Under the Medicaid Prescription
                            Drug Program of the Maryland Department of Health
                            and Mental Hygiene" (A-06-95-00066, Feb. 12, 1997);
                            HHS-OIG, "Medicaid Pharmacy - Actual Acquisition
                            Cost of Prescription Drug Products for Brand Name
                            Drugs" (A-06-96-00030, Apr. 10, 1997); HHS-OIG,
                            "Medicaid Pharmacy - Actual Acquisition Cost of
                            Generic Prescription Drug Products" (A-06-97-00011,
                            Aug.. 4, 1997); HHS-OIG, "OIG's Partnership Plan -
                            Utah Division of Health Care Financing Reports on
                            Medicaid Pharmacy Acquisition Costs of Brand Name
                            and Generic Drugs" (A-06-99-00035 and A-06-99-
                            00036, May 4, 1999); HHS-OIG, "Medicaid Pharmacy -
                            Actual Acquisition Price of Brand Name Prescription
                            Drug Products" (A-06-00-0023, Aug. 10, 2001); HHS-
                            OIG, "Review of Pharmacy Acquisition Cost for Drugs
                            Under Medicaid Prescription Drug Program of West
                            Virginia Department of Health" (A-06-01-00007, Dec.
                            31, 2001); HHS-OIG, "Medicaid Pharmacy -Actual
                            Acquisition Cost of Generic Prescription Drug Products"
                            (A-06-01-00053, Mar. 14, 2002); HHS-OIG, "Use of
                            Average Wholesale Price in Reimbursing Pharmacies
                            Participating in Medicaid and the Medicare Prescription
                            Drug Program" (A-06-89-0037, Oct. 1989); HHS-OIG,
                            "Medicaid Drug Rebates - Improvements Needed in the


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                                  Health Care Financing Administration's Procedures to
                                  Implement the Medicaid Drug Rebate Program" (A-06-
                                  91-00102, Apr. 23, 1992);HHS-OIG, "Medicaid Drug
                                  Rebates - Inaccurate Reporting of Medicaid Drug Data
                                  by Pharmacists" (A-06-91-00056, June 5, 1992); HHS-
                                  OIG, "Medicaid Drug Rebates - The Health Care
                                  Financing Administration Needs to Provide Additional
                                  Guidance to Drug Manufacturers to Better Implement the
                                  Program" (A-06-91-00092, Nov. 16, 1992); HHS-OIG,
                                  "Review of Management Controls Over the Medicaid
                                  Prescription Drug Rebate Program" (A-06-92-00029,
                                  Jun. 9, 1993); HHS-OIG, "Audit of the Arkansas
                                  Department of Human Services' Medicaid Drug
                                  Prescriptions Drug Rebate Program" (A-06-93-00003,
                                  July 30, 1993); HHS-OIG, "Elimination of the Weighted
                                  Average Manufacturer Price Provisions of the Medicaid
                                  Outpatient Prescription Drug Rebate Program" (A-06-93-
                                  00070, Dec. 28,1993); HHS-OIG, "Medicaid Program
                                  Savings Through the Use of Therapeutically Equivalent
                                  Generic Drugs" (A-06-93-00008, July 7, 1994); HHS-
                                  OIG, "Medicare Part B Reimbursement to Providers for
                                  Drugs in Conjunction with Durable Medical Equipment"
                                  (A-06-92-0079, Aug. 14, 1995); HHS-OIG, "Need to
                                  Establish Connection Between the Calculation of
                                  Medicaid Drug Rebates and Reimbursement for
                                  Medicaid Drugs" (A-06-97-00052, May 8, 1998)
Jerome Jackson, CMS               Methodologies, policies, and procedures concerning drug
                                  reimbursement under Medicare or Medicaid;
                                  implementation of those methodologies, policies, and
                                  procedures; Medicaid Drug Rebate Program
Diane Jacobs, Massachusetts       Reimbursement methodologies for prescription drugs
Division of Health Care Finance   under the Massachusetts Medicaid program; drug
& Policy                          pricing; Medicaid reimbursement; AWP; WAC

Paul L. Jeffrey, MassHealth       Reimbursement methodologies for prescription drugs
                                  under the Massachusetts Medicaid program; drug
                                  pricing; Medicaid reimbursement; AWP; WAC

Colleen Jones, Wyoming            Conduct of Wyoming's Medicaid program; goals of the
Department of Health              Wyoming Medicaid program; United States' alleged
                                  damages; reimbursement methodologies for prescription
                                  drugs under the Wyoming Medicaid program; access to
                                  care under the Wyoming Medicaid program; actual
                                  acquisition cost; AWP; WAC, AMP; URA; ingredient
                                  cost; usual and customary charge; claims; providers;
                                  EAC; MAC; FULs; Medicaid rebates, including
                                  supplemental rebate agreements; dispensing fees and

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                               dispensing costs, including adequacy of dispensing fees;
                               State Plans; audit reports and surveys regarding
                               providers' acquisition costs and dispensing costs;
                               providers' lobbying efforts and communications;
                               Medicaid statutes, regulations, rules, policies, and
                               handbooks; communications with drug manufacturers;
                               claims processing; markets for brand and generic drugs;
                               Wyoming and HHS's knowledge of difference between
                               providers' average/actual acquisition costs and published
                               AWP and WAC; communications with HHS and other
                               employees of other state's Medicaid programs; any topic
                               discussed at deponent's deposition; pharmacy profit
                               margins; DOJ AWPs; meetings and communications of
                               the State Medicaid Directors' Association or other
                               similar groups.
Brendan Joyce, North Dakota    Conduct of North Dakota's Medicaid program; goals of
Department of Human Services   the North Dakota Medicaid program; United States'
                               alleged damages; reimbursement methodologies for
                               prescription drugs under the North Dakota Medicaid
                               program; access to care under the North Dakota
                               Medicaid program; actual acquisition cost; AWP; WAC,
                               AMP; URA; ingredient cost; usual and customary
                               charge; claims; providers; EAC; MAC; FULs; Medicaid
                               rebates; dispensing fees and dispensing costs, including
                               adequacy of dispensing fees; State Plans; providers'
                               acquisition costs and dispensing costs; providers'
                               lobbying efforts and communications; Medicaid statutes,
                               regulations, rules, policies, and handbooks;
                               communications with drug manufacturers; claims
                               processing; markets for brand and generic drugs; North
                               Dakota and HHS's knowledge of difference between
                               providers' average/actual acquisition costs and published
                               AWP and WAC; communications with HHS and other
                               employees of other state's Medicaid programs; any topic
                               discussed at deponent's deposition; pharmacy profit
                               margins; DOJ AWPs; meetings and communications of
                               the State Medicaid Directors' Association or other
                               similar groups.

Irvette Hanley, Hawaii DHS     Conduct of Hawaii's Medicaid program; goals of the
                               Hawaii Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Hawaii Medicaid program; access to care
                               under the Hawaii Medicaid program; actual acquisition
                               cost; AWP; WAC, AMP; URA; ingredient cost; usual
                               and customary charge; claims; providers; EAC; MAC;


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                            FULs; Medicaid rebates, including supplemental rebate
                            agreements; dispensing fees and dispensing costs,
                            including adequacy of dispensing fees; State Plans; audit
                            reports and surveys regarding providers' acquisition
                            costs and dispensing costs; providers' lobbying efforts
                            and communications; Medicaid statutes, regulations,
                            rules, policies, and handbooks; communications with
                            drug manufacturers; claims processing; markets for
                            brand and generic drugs; Hawaii and HHS's knowledge
                            of difference between providers' average/actual
                            acquisition costs and published AWP and WAC;
                            communications with HHS and other employees of other
                            state's Medicaid programs; any topic discussed at
                            deponent's deposition; pharmacy profit margins; DOJ
                            AWPs; meetings and communications of the State
                            Medicaid Directors' Association or other similar groups.

Kathleen Kang-Laulupali,    Conduct of Hawaii's Medicaid program; goals of the
Hawaii DHS                  Hawaii Medicaid program; United States' alleged
                            damages; reimbursement methodologies for prescription
                            drugs under the Hawaii Medicaid program; access to care
                            under the Hawaii Medicaid program; actual acquisition
                            cost; AWP; WAC, AMP; URA; ingredient cost; usual
                            and customary charge; claims; providers; EAC; MAC;
                            FULs; Medicaid rebates, including supplemental rebate
                            agreements; dispensing fees and dispensing costs,
                            including adequacy of dispensing fees; State Plans; audit
                            reports and surveys regarding providers' acquisition
                            costs and dispensing costs; providers' lobbying efforts
                            and communications; Medicaid statutes, regulations,
                            rules, policies, and handbooks; communications with
                            drug manufacturers; claims processing; markets for
                            brand and generic drugs; Hawaii and HHS's knowledge
                            of difference between providers' average/actual
                            acquisition costs and published AWP and WAC;
                            communications with HHS and other employees of other
                            state's Medicaid programs; any topic discussed at
                            deponent's deposition; pharmacy profit margins; DOJ
                            AWPs; meetings and communications of the State
                            Medicaid Directors' Association or other similar groups.

Robert A. Katz, OEI         AWP; providers' acquisition costs; preparation of the
                            following OEI reports: Medicare Payments For
                            Nebulizer Drugs, OEI-03-94-00390; A Comparison of
                            Albuterol Sulfate Prices, OEI-03-94-00392; Suppliers'
                            Acquisitions Costs for Albuterol Sulfate, OEI-03-94-
                            00393; Questionable Practices Involving Nebulizer Drug

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                               Therapy, OEI-03-94-00391
James Kenyon, Michigan         reimbursement methodologies for prescription drugs
Medicaid                       under the Michigan Medicaid program; dispensing fees
                               and dispensing costs, including adequacy of dispensing
                               fees; access to care under the Michigan Medicaid
                               program; actual acquisition cost; AWP; wholesale
                               acquisition cost ("WAC"); AMP; ingredient cost; usual
                               and customary charge; estimated acquisition cost
                               ("EAC"); MAC; FUL; State Plans; audit reports and
                               surveys regarding providers' acquisition costs and
                               dispensing costs; providers' lobbying efforts and
                               communications with Michigan Medicaid; Medicaid
                               statutes, regulations, rules, and policies; communications
                               with drug manufacturers; markets for brand and generic
                               drugs; cost saving measures considered by the Michigan
                               Medicaid program
Kathy Ketchum, Oregon          Conduct of Oregon's Medicaid program; goals of the
Department of Human Services   Oregon Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Oregon Medicaid program; access to
                               care under the Oregon Medicaid program; actual
                               acquisition cost; AWP; WAC, AMP; URA; ingredient
                               cost; usual and customary charge; claims; providers;
                               EAC; MAC; FULs; Medicaid rebates, including
                               supplemental rebate agreements; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees;
                               State Plans; audit reports and surveys regarding
                               providers' acquisition costs and dispensing costs;
                               providers' lobbying efforts and communications;
                               Medicaid statutes, regulations, rules, policies, and
                               handbooks; communications with drug manufacturers;
                               claims processing; markets for brand and generic drugs;
                               Oregon and HHS's knowledge of difference between
                               providers' average/actual acquisition costs and published
                               AWP and WAC; communications with HHS and other
                               employees of other state's Medicaid programs; any topic
                               discussed at deponent's deposition; pharmacy profit
                               margins; DOJ AWPs; meetings and communications of
                               the State Medicaid Directors' Association or other
                               similar groups.
Janet Kilian, OEI              AWP; providers' acquisition costs; preparation of the
                               following OEI report: Review of 340B Prices, OEI-05-
                               02-00073
George Kitchens, Florida       Reimbursement methodologies for prescription drugs
AHCA                           under the Florida Medicaid program; goals of the Florida
                               Medicaid program; access to care under the Florida


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                              Medicaid program; actual acquisition cost; AWP; WAC;
                              AMP; ingredient cost; usual and customary charge; EAC;
                              MAC; FULs; Medicaid rebates, including supplemental
                              rebate agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; State Plans; audit
                              reports and surveys regarding providers' acquisition
                              costs and dispensing costs; providers' lobbying efforts
                              and communications with AHCA; Medicaid statutes,
                              regulations, rules, policies, and handbooks;
                              communications with drug manufacturers; Dey's price
                              reporting to AHCA and First DataBank; information
                              provided to AHCA by First DataBank; services provided
                              by Provider Synergies and ACS; claims processing;
                              markets for brand and generic drugs
Lillian Koller, Hawaii DHS    Conduct of Hawaii's Medicaid program; goals of the
                              Hawaii Medicaid program; United States' alleged
                              damages; reimbursement methodologies for prescription
                              drugs under the Hawaii Medicaid program; access to care
                              under the Hawaii Medicaid program; actual acquisition
                              cost; AWP; WAC, AMP; URA; ingredient cost; usual
                              and customary charge; claims; providers; EAC; MAC;
                              FULs; Medicaid rebates, including supplemental rebate
                              agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; State Plans; audit
                              reports and surveys regarding providers' acquisition
                              costs and dispensing costs; providers' lobbying efforts
                              and communications; Medicaid statutes, regulations,
                              rules, policies, and handbooks; communications with
                              drug manufacturers; claims processing; markets for
                              brand and generic drugs; Hawaii and HHS's knowledge
                              of difference between providers' average/actual
                              acquisition costs and published AWP and WAC;
                              communications with HHS and other employees of other
                              state's Medicaid programs; any topic discussed at
                              deponent's deposition; pharmacy profit margins; DOJ
                              AWPs; meetings and communications of the State
                              Medicaid Directors' Association or other similar groups.

Mike Kneff, California DHCS   Reimbursement methodologies for prescription drugs
                              under the California Medicaid program; goals of the
                              California Medicaid program; access to care under the
                              California Medicaid program; actual acquisition cost;
                              AWP; wholesale acquisition cost; AMP; ingredient cost;
                              usual and customary charge; EAC; MAC; FULs;
                              Medicaid rebates, including supplemental rebate
                              agreements; dispensing fees and dispensing costs,


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                                including adequacy of dispensing fees; State Plans; audit
                                reports and surveys regarding providers' acquisition
                                costs and dispensing costs; providers' lobbying efforts
                                and communications; meetings and communications of
                                the State Medicaid Directors' Association
Kenneth Troy Koch, Kentucky     Medicaid rebates, including supplemental rebate
DMS                             agreements; providers' lobbying efforts; goals of the
                                Kentucky Medicaid program; access to care under the
                                Kentucky Medicaid program; development of MAC
                                program in Kentucky; reimbursement formulas of non-
                                Medicaid payors; actual acquisition cost; AWP; WAC;
                                AMP; ingredient cost; usual and customary charge; EAC;
                                MAC; FULs.
Tom Komaniecki, OEI             AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW     following OEI reports: Medicaid Drug Price
Room 5660                       Comparisons: Average Manufacturer Price To Published
Washington, D.C. 20201          Prices, OEI-05-05-00240; Review of 340B Prices, OEI-
(202) 619-0480                  05-02-00073; Generic Drug Utilization in State Medicaid
                                Programs, OEI-05-05-00360
Sandy Kramer, Michigan          Reimbursement methodologies for prescription drugs
Medicaid                        under the Michigan Medicaid program; dispensing fees
                                and dispensing costs, including adequacy of dispensing
                                fees; access to care under the Michigan Medicaid
                                program; actual acquisition cost; AWP; wholesale
                                acquisition cost ("WAC"); AMP; ingredient cost; usual
                                and customary charge; estimated acquisition cost
                                ("EAC"); MAC; FUL; State Plans; audit reports and
                                surveys regarding providers' acquisition costs and
                                dispensing costs; providers' lobbying efforts and
                                communications with Michigan Medicaid; Medicaid
                                statutes, regulations, rules, and policies; communications
                                with drug manufacturers; markets for brand and generic
                                drugs; cost saving measures considered by the Michigan
                                Medicaid program
Terry Krantz, Montana DPHHS     Cost saving measures considered by the Montana
                                Medicaid program; reimbursement methodologies for
                                prescription drugs under the Montana Medicaid program;
                                AWP; actual acquisition cost
David Kreling, consultant for   Conduct of Wisconsin's Medicaid program; goals of the
Wisconsin DHS and CMS           Wisconsin Medicaid program; reimbursement
                                methodologies for prescription drugs under the
                                Wisconsin Medicaid program; access to care under the
                                Wisconsin Medicaid program; actual acquisition cost;
                                AWP; WAC, AMP; URA; ingredient cost; usual and
                                customary charge; claims; providers; EAC; MAC; FULs;
                                Medicaid rebates, including supplemental rebate


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                             agreements; dispensing fees and dispensing costs,
                             including adequacy of dispensing fees; State Plans; audit
                             reports and surveys regarding providers' acquisition
                             costs and dispensing costs; Medicaid statutes,
                             regulations, rules, policies, and handbooks;
                             communications with drug manufacturers; claims
                             processing; markets for brand and generic drugs;
                             Wisconsin and HHS's knowledge of difference between
                             providers' average/actual acquisition costs and published
                             AWP and WAC; communications with HHS and other
                             employees of other state's Medicaid programs; any topic
                             discussed at deponent's deposition; pharmacy profit
                             margins; DOJ AWPs
Kathy Kustra, Kentucky DMS   Funding for the Medicaid Program; Medicaid budget
                             crisis; Kentucky's managed care program;
                             reimbursement methodologies for prescription drugs
                             under the Kentucky Medicaid program; goals of the
                             Kentucky Medicaid program; access to care under the
                             Kentucky Medicaid program; actual acquisition cost;
                             AWP; WAC; AMP; ingredient cost; usual and customary
                             charge; EAC; MAC; FULs; Medicaid rebates, including
                             supplemental rebate agreements; dispensing fees and
                             dispensing costs, including adequacy of dispensing fees;
                             State Plans, including state flexibility in creating
                             reimbursement methodologies; audit reports and surveys
                             regarding providers' acquisition costs and dispensing
                             costs, including the Myers & Stauffer reports; providers'
                             lobbying efforts, including contact with pharmacy
                             representatives; reimbursement formulas of non-
                             Medicaid payors; communication with manufacturers.
Martha B. Kvall, OEI         AWP; providers' acquisition costs; preparation of the
                             following OEI reports: Prescription Drug Promotion
                             Involving Payments and Gifts: Physicians' Perspectives,
                             OEI-O 1 -90-0048 1; Medicaid Drug Use Review
                             Programs, OEI-01-92-00800
Fred Kwan, OEI               AWP; providers' acquisition costs; preparation of the
                             following OEI report: Prescription Drug Promotion
                             Involving Payments and Gifts: Physicians' Perspectives,
                             OEI-01-90-00481
Daniel Lai, OEI              AWP; providers' acquisition costs; preparation of the
                             following OEI report: Medicare Reimbursement for
                             Parental Nutrition, OEI-03-96-00230
Shane Lanzo, OEI             AWP; providers' acquisition costs; preparation of the
                             following OEI report: Appropriateness of Medicare
                             Prescription Drug Allowances, OEI-03-95-00420
Colleen Lawrence, Nevada     Reimbursement methodologies for prescription drugs


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DHCFP                          under the Nevada Medicaid program; EAC; AWP;
                               WAC; MAC; usual and customary charges; cost saving
                               measures considered by the Nevada Medicaid program;
                               claims processing procedures; providers' lobbying efforts
                               and communications with Nevada DHCFP
Daniel C. Leone, Connecticut   Dispensing fees and dispensing costs, including
Pharmacists Association        adequacy of dispensing fees; access to care under the
                               Connecticut Medicaid program; AWP; pharmacy profit
                               margins; providers' lobbying efforts and communications
                               with the Connecticut Medicaid program
Kelli Littlejohn, Alabama      Reimbursement methodologies used by the Alabama
Medicaid Agency                Medicaid Program; access to care; Alabama Medicaid's
                               MAC program; dispensing fee
Amy Lin, OEI                   AWP; providers' acquisition costs; preparation of the
                               following OEI report: Medicare Reimbursement for
                               Parental Nutrition, OEI-03-96-00230
Patti Loyack, OEI              AWP; providers' acquisition costs; preparation of the
                               following OEI report: Questionable Practices Involving
                               Nebulizer Drug Therapy, OEI-03-94-00391
Sanford Lugar, New Jersey      Reimbursement methodologies for prescription drugs
Medicaid                       under the New Jereey Medicaid program; goals of the
                               New Jersey Medicaid program; access to care under the
                               New Jersey Medicaid program; actual acquisition cost;
                               AWP; wholesale acquisition cost; AMP; ingredient cost;
                               usual and customary charge; EAC; MAC; FULs;
                               Medicaid rebates, including supplemental rebate
                               agreements; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees; State Plans; audit
                               reports and surveys regarding providers' acquisition
                               costs and dispensing costs; providers' lobbying efforts
                               and communications; meetings and communications of
                               the State Medicaid Directors' Association
Benjamin T. Mahdi, OEI         AWP; providers' acquisition costs; preparation of the
                               following OEI report: Review Of Services Provided By
                               Inhalation Drug Suppliers, OEI-01-05-00090
Al Matano, Wisconsin DHS       Conduct of Wisconsin's Medicaid program; goals of the
                               Wisconsin Medicaid program; United States' alleged
                               damages; cost savings measures; reimbursement
                               methodologies for prescription drugs under the
                               Wisconsin Medicaid program; access to care under the
                               Wisconsin Medicaid program; actual acquisition cost;
                               AWP; WAC, AMP; URA; ingredient cost; usual and
                               customary charge; claims; providers; EAC; MAC; FULs;
                               Medicaid rebates, including supplemental rebate
                               agreements; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees; State Plans; audit


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                                reports and surveys regarding providers' acquisition
                                costs and dispensing costs; providers' lobbying efforts
                                and communications; Medicaid statutes, regulations,
                                rules, policies, and handbooks; communications with
                                drug manufacturers; claims processing; markets for
                                brand and generic drugs; Wisconsin and HHS's
                                knowledge of difference between providers'
                                average/actual acquisition costs and published AWP and
                                WAC; communications with HHS and other employees
                                of other state's Medicaid programs; any topic discussed
                                at deponent's deposition; pharmacy profit margins; DOJ
                                AWPs; meetings and communications of the State
                                Medicaid Directors' Association or other similar groups.
Ann Maxwell, OEI                AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW     following OEI reports: Review of 340B Prices, OEI-05-
Room 5660                       02-00073; Generic Drug Utilization in State Medicaid
Washington, D.C. 20201          Programs, OEI-05-05-00360; Cost Containment of
(202) 619-0480                  Medicaid HIV/AIDS Drug Expenditures, OEI-05-99-
                                0061 l; Medicaid Drug Price Comparisons: Average
                                Manufacturer Price To Published Prices, OEI-05-05-
                                00240
Susan McCann, Missouri          Conduct of Missouri's Medicaid program;
Department of Social Services   reimbursement methodologies for prescription drugs
                                under the Missouri Medicaid program; actual acquisition
                                cost; AWP; WAC, AMP; URA; ingredient cost; usual
                                and customary charge; claims; providers; EAC; MAC;
                                FULs State Plans; audit reports and surveys regarding
                                providers' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and
                                handbooks; Missouri and HHS's knowledge of
                                difference between providers' average/actual acquisition
                                costs and published AWP and WAC; communications
                                with HHS and other employees of other state's Medicaid
                                programs; any topic discussed at deponent's deposition;
                                pharmacy profit margins
Barry McCoy, OEI                AWP; providers' acquisition costs; preparation of the
                                following OEI reports: Prescription Drug Promotion
                                Involving Payments and Gifts: Physicians' Perspectives,
                                OEI-O 1 -90-0048 1; Medicaid Drug Use Review
                                Programs, OEI-01-92-00800
Katherine McKenzie, Texas       Reimbursement methodologies for prescription drugs
VDP                             under the Texas Medicaid program; AWP; WAC; actual
                                acquisition costs; Dey's price reporting to Texas VDP;
                                providers' communications with Texas VDP
Susan McLeod, Florida AHCA      Reimbursement methodologies for prescription drugs


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                                under the Florida Medicaid program; goals of the Florida
                                Medicaid program; access to care under the Florida
                                Medicaid program; actual acquisition cost; AWP; WAC;
                                AMP; ingredient cost; usual and customary charge; EAC;
                                MAC; FULs; dispensing fees and dispensing costs,
                                including adequacy of dispensing fees; State Plans; audit
                                reports and surveys regarding providers' acquisition
                                costs and dispensing costs; providers' lobbying efforts
                                and communications with AHCA; Medicaid statutes,
                                regulations, rules, policies, and handbooks;
                                communications with drug manufacturers; Dey's price
                                reporting to AHCA and First DataBank; information
                                provided to AHCA by First DataBank; claims
                                processing; markets for brand and generic drugs
David McNally, CMS              Medicaid Drug Rebate Program
Martha McNeil, Texas VDP        Reimbursement methodologies for prescription drugs
                                under the Texas Medicaid program; AWP; WAC; MAC;
                                actual acquisition costs; audit reports and surveys
                                regarding providers' acquisition costs and dispensing
                                costs; usual and customary charge; access to care under
                                the Medicaid program; dispensing fees and dispensing
                                costs, including adequacy of dispensing fees
Lauren McNulty, OEI             AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW     following OEI reports: Excessive Medicare Payments
Room 5660                       for Prescription Drugs, OEI-03-97-00290; Calculation Of
Washington, D.C. 20201          Volume-Weighted Average Sales Price For Medicare
(202) 619-0480                  Part B Prescription Drugs, OEI-03 -05 -003 10; Monitoring
                                Medicare Part B Drug Prices: A Comparison of Average
                                Sales Prices To Average Manufacturer Prices, OEI-03-
                                04-00430; Comparison of Fourth-Quarter 2005 Averages
                                Sales Prices To Average Manufacturer Prices: Impact on
                                Medicare Reimbursement For Second Quarter 2006,
                                OEI-03-06-00370
Anthony Megathlin,              Medicaid Fraud Control Units; usual and customary;
Massachusetts' Attorney         AMP; WAC; AWP; access to actual acquisition costs
General Office Medicaid Fraud
Control Unit

Emily Melnick, OEI              AWP; providers' acquisition costs; preparation of the
                                following OEI reports: State Strategies To Contain
                                Medicaid Drug Costs, OEI-05-02-00680; Variation In
                                State Medicaid Drug Prices, OEI-05-02-00681




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Dr. Paul Metzger, Palmetto      Medicare reimbursement methodologies and setting of
GBA                             policies for reimbursement; AWP; reimbursement limits
                                and modifiers; median AWP for therapeutic equivalent
                                drugs; the provider's usual and customary charge;
                                estimated acquisition cost; rates set by the Secretary
                                pursuant to "inherent reasonableness"; policies and the
                                establishment of policies for the reimbursement of
                                nebulizer drugs; prescriptions administered through
                                durable medical equipment; dispensing fees; audits of
                                reimbursement for prescriptions administered through
                                durable medical equipment; pricing arrays and
                                calculation of median AWP
Dr. Larry Miike, Hawaii DHS     Conduct of Hawaii's Medicaid program; goals of the
                                Hawaii Medicaid program; United States' alleged
                                damages; reimbursement methodologies for prescription
                                drugs under the Hawaii Medicaid program; access to care
                                under the Hawaii Medicaid program; actual acquisition
                                cost; AWP; WAC, AMP; URA; ingredient cost; usual
                                and customary charge; claims; providers; EAC; MAC;
                                FULs; Medicaid rebates, including supplemental rebate
                                agreements; dispensing fees and dispensing costs,
                                including adequacy of dispensing fees; State Plans; audit
                                reports and surveys regarding providers' acquisition
                                costs and dispensing costs; providers' lobbying efforts
                                and communications; Medicaid statutes, regulations,
                                rules, policies, and handbooks; communications with
                                drug manufacturers; claims processing; markets for
                                brand and generic drugs; Hawaii and HHS's knowledge
                                of difference between providers' average/actual
                                acquisition costs and published AWP and WAC;
                                communications with HHS and other employees of other
                                state's Medicaid programs; any topic discussed at
                                deponent's deposition; pharmacy profit margins; DOJ
                                AWPs; meetings and communications of the State
                                Medicaid Directors' Association or other similar groups.
Mark Miller, CMS                Methodologies, policies, and procedures concerning drug
                                reimbursement under Medicare or Medicaid;
                                implementation of those methodologies, policies, and
                                procedures
Craig Miller, California DHCS   Conduct of California's Medicaid program; goals of the
                                California Medicaid program; United States' alleged
                                damages; reimbursement methodologies for prescription
                                drugs under the California Medicaid program; access to
                                care under the California Medicaid program; actual
                                acquisition cost; AWP; WAC, AMP; URA; ingredient
                                cost; usual and customary charge; claims; providers;


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                              EAC; MAC; FULs; Medicaid rebates, including
                              supplemental rebate agreements; dispensing fees and
                              dispensing costs, including adequacy of dispensing fees;
                              State Plans; audit reports and surveys regarding
                              providers' acquisition costs and dispensing costs;
                              providers' lobbying efforts and communications;
                              Medicaid statutes, regulations, rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs;
                              California and HHS's knowledge of difference between
                              providers' average/actual acquisition costs and published
                              AWP and WAC; communications with HHS and other
                              employees of other state's Medicaid programs; any topic
                              discussed at deponent's deposition; pharmacy profit
                              margins; DOJ AWPs; meetings and communications of
                              the State Medicaid Directors' Association or other
                              similar groups.
Kris Minne, Thompson PDR      Redbook's publishing and definitions of pricing terms.
Inc.
Sarah Mingledorff, Alabama    Reimbursement methodologies for prescription drugs
Medicaid Agency               under the Alabama Medicaid program; goals of the
                              Alabama Medicaid program; access to care under the
                              Alabama Medicaid program; actual acquisition cost;
                              AWP; wholesale acquisition cost; AMP; ingredient cost;
                              usual and customary charge; EAC; MAC; FULs;
                              Medicaid rebates, including supplemental rebate
                              agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; State Plans; audit
                              reports and surveys regarding providers' acquisition
                              costs and dispensing costs; providers' lobbying efforts
                              and communications; meetings and communications of
                              the State Medicaid Directors' Association
Nancy Molyneaux, OEI          AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW   following OEI reports: A Comparison of Albuterol
Room 5660                     Sulfate Prices, OEI-03-94-00392; Medicare
Washington, D.C. 20201        Reimbursement for Parental Nutrition, OEI-03-96-
(202) 619-0480                00230; Excessive Medicare Payments for Prescription
                              Drugs, OEI-03-97-00290; Comparing Drug
                              Reimbursement: Medicare and Department of Veterans
                              Affairs, OEI-03-97-00293; Medicaid Recovery of
                              Pharmacy Payments from Liable Third Parties, OEI-03-
                              00-00030
Neil Montavani, OEI           AWP; providers' acquisition costs; preparation of the
                              following OEI report: Medicare Payments For Nebulizer
                              Drugs, OEI-03-94-00390
Mark Moody, Wisconsin DHS     Conduct of Wisconsin's Medicaid program; goals of the


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                              Wisconsin Medicaid program; United States' alleged
                              damages; reimbursement methodologies for prescription
                              drugs under the Wisconsin Medicaid program; access to
                              care under the Wisconsin Medicaid program; actual
                              acquisition cost; AWP; WAC, AMP; URA; ingredient
                              cost; usual and customary charge; claims; providers;
                              EAC; MAC; FULs; Medicaid rebates, including
                              supplemental rebate agreements; dispensing fees and
                              dispensing costs, including adequacy of dispensing fees;
                              State Plans; audit reports and surveys regarding
                              providers' acquisition costs and dispensing costs;
                              providers' lobbying efforts and communications;
                              Medicaid statutes, regulations, rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs;
                              Wisconsin and HHS's knowledge of difference between
                              providers' average/actual acquisition costs and published
                              AWP and WAC; communications with HHS and other
                              employees of other state's Medicaid programs; any topic
                              discussed at deponent's deposition; pharmacy profit
                              margins; DOJ AWPs; meetings and communications of
                              the State Medicaid Directors' Association or other
                              similar groups.
Marlia Moore, Wisconsin DHS   Conduct of Wisconsin's Medicaid program; goals of the
                              Wisconsin Medicaid program; United States' alleged
                              damages; reimbursement methodologies for prescription
                              drugs under the Wisconsin Medicaid program; access to
                              care under the Wisconsin Medicaid program; actual
                              acquisition cost; AWP; WAC, AMP; URA; ingredient
                              cost; usual and customary charge; claims; providers;
                              EAC; MAC; FULs; Medicaid rebates, including
                              supplemental rebate agreements; dispensing fees and
                              dispensing costs, including adequacy of dispensing fees;
                              State Plans; audit reports and surveys regarding
                              providers' acquisition costs and dispensing costs;
                              providers' lobbying efforts and communications;
                              Medicaid statutes, regulations, rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs;
                              Wisconsin and HHS's knowledge of difference between
                              providers' average/actual acquisition costs and published
                              AWP and WAC; communications with HHS and other
                              employees of other state's Medicaid programs; any topic
                              discussed at deponent's deposition; pharmacy profit
                              margins; DOJ AWPs; meetings and communications of
                              the State Medicaid Directors' Association or other


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                              similar groups.
William Moran, OEI            AWP; providers' acquisition costs; preparation of the
                              following OEI reports: Cost Containment of Medicaid
                              HIV/AIDS Drug Expenditures, OEI-05-99-0061 l; State
                              Strategies To Contain Medicaid Drug Costs, OEI-05-02-
                              00680; Variation In State Medicaid Drug Prices, OEI-05-
                              02-00681; Medicaid Drug Price Comparisons: Average
                              Manufacturer Price To Published Prices, OEI-05-05-
                              00240
Marcia Morgan, Kentucky       Conduct of Kentucky's Medicaid program; goals of the
Cabinet for Health Services   Kentucky Medicaid program; United States' alleged
                              damages; reimbursement methodologies for prescription
                              drugs under the Kentucky Medicaid program; access to
                              care under the Kentucky Medicaid program; actual
                              acquisition cost; AWP; WAC, AMP; URA; ingredient
                              cost; usual and customary charge; claims; providers;
                              EAC; MAC; FULs; Medicaid rebates, including
                              supplemental rebate agreements; dispensing fees and
                              dispensing costs, including adequacy of dispensing fees;
                              State Plans; audit reports and surveys regarding
                              providers' acquisition costs and dispensing costs;
                              providers' lobbying efforts and communications;
                              Medicaid statutes, regulations, rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs;
                              Kentucky and HHS's knowledge of difference between
                              providers' average/actual acquisition costs and published
                              AWP and WAC; communications with HHS and other
                              employees of other state's Medicaid programs; any topic
                              discussed at deponent's deposition; pharmacy profit
                              margins; DOJ AWPs; meetings and communications of
                              the State Medicaid Directors' Association or other
                              similar groups.
Richard Morris, CMS           Communications with states regarding their method for
                              determining EAC; methodologies, policies, and
                              procedures concerning drug reimbursement under
                              Medicaid; implementation of those methodologies,
                              policies, and procedures; AWP; providers' acquisition
                              costs; EAC
Linda Moscoe, OEI             AWP; providers' acquisition costs; preparation of the
                              following OEI reports: Questionable Practices Involving
                              Nebulizer Drug Therapy, OEI-03-94-00391; Medicare
                              Reimbursement of End Stage Renal Disease Drugs, OEI-
                              03-00-00020; Medicare Reimbursement of Albuterol,
                              OEI-03-00-0031 l; Medicare Reimbursement of
                              Prescription Drugs, OEI-03-00-00310


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Heather Murphy, Texas VDP      AMP; Medicaid rebates, including supplemental rebate
                               agreements; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees; Dey's price
                               reporting to Texas VDP
Myers & Stauffer, L.C.         Preparation and methodology of surveys and reports
                               regarding providers' acquisition and dispensing costs;
                               calculation of state MACS; communications with State
                               Medicaid officials and others; adequacy of
                               reimbursement, and related matters
Robert Nash, Texas VDP         Reimbursement methodologies for prescription drugs
                               under the Texas Medicaid program; AWP; WAC; actual
                               acquisition costs; ingredient cost; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees
Nancy Nesser, Oklahoma         Conduct of Oklahoma's Medicaid program; goals of the
Medicaid                       Oklahoma Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Oklahoma Medicaid program; access to
                               care under the Oklahoma Medicaid program; actual
                               acquisition cost; AWP; WAC, AMP; URA; ingredient
                               cost; usual and customary charge; claims; providers;
                               EAC; MAC; FULs; Medicaid rebates, including
                               supplemental rebate agreements; dispensing fees and
                               dispensing costs, including adequacy of dispensing fees;
                               State Plans; audit reports and surveys regarding
                               providers' acquisition costs and dispensing costs;
                               providers' lobbying efforts and communications;
                               Medicaid statutes, regulations, rules, policies, and
                               handbooks; communications with drug manufacturers;
                               claims processing; markets for brand and generic drugs;
                               Oklahoma and HHS's knowledge of difference between
                               providers' average/actual acquisition costs and published
                               AWP and WAC; communications with HHS and other
                               employees of other state's Medicaid programs; any topic
                               discussed at deponent's deposition; pharmacy profit
                               margins; DOJ AWPs; meetings and communications of
                               the State Medicaid Directors' Association or other
                               similar groups.
Robert Niemann, CMS            Methodologies, policies, and procedures concerning drug
                               reimbursement under Medicare or Medicaid;
                               implementation of those methodologies, policies, and
                               procedures
Christine Nye, Wisconsin DHS   Conduct of Wisconsin's Medicaid program; goals of the
                               Wisconsin Medicaid program; United States' alleged
                               damages; reimbursement methodologies for prescription
                               drugs under the Wisconsin Medicaid program; access to
                               care under the Wisconsin Medicaid program; actual


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                                acquisition cost; AWP; WAC, AMP; URA; ingredient
                                cost; usual and customary charge; claims; providers;
                                EAC; MAC; FULs; Medicaid rebates, including
                                supplemental rebate agreements; dispensing fees and
                                dispensing costs, including adequacy of dispensing fees;
                                State Plans; audit reports and surveys regarding
                                providers' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and
                                handbooks; communications with drug manufacturers;
                                claims processing; markets for brand and generic drugs;
                                Wisconsin and HHS's knowledge of difference between
                                providers' average/actual acquisition costs and published
                                AWP and WAC; communications with HHS and other
                                employees of other state's Medicaid programs; any topic
                                discussed at deponent's deposition; pharmacy profit
                                margins; DOJ AWPs; meetings and communications of
                                the State Medicaid Directors' Association or other
                                similar groups.
Ellen Osburne, Wisconsin DHS    Conduct of Wisconsin's Medicaid program; goals of the
                                Wisconsin Medicaid program; United States' alleged
                                damages; reimbursement methodologies for prescription
                                drugs under the Wisconsin Medicaid program; access to
                                care under the Wisconsin Medicaid program; actual
                                acquisition cost; AWP; WAC, AMP; URA; ingredient
                                cost; usual and customary charge; claims; providers;
                                EAC; MAC; FULs; Medicaid rebates, including
                                supplemental rebate agreements; dispensing fees and
                                dispensing costs, including adequacy of dispensing fees;
                                State Plans; audit reports and surveys regarding
                                providers' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and
                                handbooks; communications with drug manufacturers;
                                claims processing; markets for brand and generic drugs;
                                Wisconsin and HHS's knowledge of difference between
                                providers' average/actual acquisition costs and published
                                AWP and WAC; communications with HHS and other
                                employees of other state's Medicaid programs; any topic
                                discussed at deponent's deposition; pharmacy profit
                                margins; DOJ AWPs; meetings and communications of
                                the State Medicaid Directors' Association or other
                                similar groups.
George Oestreich, Missouri      Conduct of Missouri's Medicaid program; goals of the
Department of Social Services   Missouri Medicaid program; United States' alleged
                                damages; reimbursement methodologies for prescription


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                                 drugs under the Missouri Medicaid program; access to
                                 care under the Missouri Medicaid program; actual
                                 acquisition cost; AWP; WAC, AMP; URA; ingredient
                                 cost; usual and customary charge; claims; providers;
                                 EAC; MAC; FULs; Medicaid rebates, including
                                 supplemental rebate agreements; dispensing fees and
                                 dispensing costs, including adequacy of dispensing fees;
                                 State Plans; audit reports and surveys regarding
                                 providers' acquisition costs and dispensing costs;
                                 providers' lobbying efforts and communications;
                                 Medicaid statutes, regulations, rules, policies, and
                                 handbooks; communications with drug manufacturers;
                                 claims processing; markets for brand and generic drugs;
                                 Missouri and HHS's knowledge of difference between
                                 providers' average/actual acquisition costs and published
                                 AWP and WAC; communications with HHS and other
                                 employees of other state's Medicaid programs; any topic
                                 discussed at deponent's deposition; pharmacy profit
                                 margins; DOJ AWPs; meetings and communications of
                                 the State Medicaid Directors' Association or other
                                 similar groups.
Maryanne Paccione, Virginia      Reimbursement methodologies for prescription drugs
Department of Medical            under the Virginia Medicaid program; dispensing fees
Assistance Services ("Virginia   and dispensing costs, including adequacy of dispensing
DMAS")                           fees; access to care under the Virginia Medicaid
                                 program; actual acquisition cost; AWP; wholesale
                                 acquisition cost ("WAC"); AMP; ingredient cost; usual
                                 and customary charge; estimated acquisition cost
                                 ("EAC"); MAC; FUL; State Plans; audit reports and
                                 surveys regarding providers' acquisition costs and
                                 dispensing costs; providers' lobbying efforts and
                                 communications with Virginia Medicaid; Medicaid
                                 statutes, regulations, rules, and policies; communications
                                 with drug manufacturers; markets for brand and generic
                                 drugs; cost saving measures considered by the Virginia
                                 Medicaid program




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Palmetto GBA                   Medicare reimbursement methodologies and setting of
                               policies for reimbursement; AWP; reimbursement limits
                               and modifiers; median AWP for therapeutic equivalent
                               drugs; the provider's usual and customary charge;
                               estimated acquisition cost; rates set by the Secretary
                               pursuant to "inherent reasonableness"; policies and the
                               establishment of policies for the reimbursement of
                               nebulizer drugs; prescriptions administered through
                               durable medical equipment; dispensing fees; audits of
                               reimbursement for prescriptions administered through
                               durable medical equipment; pricing arrays and
                               calculation of median AWP
James Parker, Illinois         Cost saving measures considered by the Illinois Medicaid
Department of Healthcare and   program; reimbursement methodologies for prescription
Family Services                drugs under the Illinois Medicaid program; dispensing
                               fees and dispensing costs, including adequacy of
                               dispensing fees; audit reports and surveys regarding
                               providers' acquisition costs and dispensing costs; access
                               to care concerns under the Illinois Medicaid program;
                               AWP; WAC; actual acquisition costs; estimate
                               acquisition cost
Lisa Parker, CMS               Reimbursement methodologies for prescription drugs
                               under the Medicare and Medicaid programs; goals of the
                               Medicare and Medicaid programs; access to care under
                               the Medicare and Medicaid programs; actual acquisition
                               cost; AWP; WAC; AMP; Best Price; average sales price
                               ("ASP"); ingredient cost; usual and customary charge;
                               EAC; MAC; FUL; Medicaid rebates and Medicaid rebate
                               agreements; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees; approval of State
                               Medicaid plans; federal funding of State Medicaid
                               programs; audit reports and surveys regarding providers'
                               acquisition costs and dispensing costs; providers'
                               lobbying efforts and communications with HCFA/CMS;
                               Medicaid and Medicare statutes, regulations, rules, and
                               policies; communications with drug manufacturers;
                               markets for brand and generic drugs; inherent
                               reasonableness authority; Medicare carriers and authority
                               to set reimbursement rates
David Parrella, Connecticut    Reimbursement methodologies for prescription drugs
DSS                            under the Connecticut Medicaid program; audit reports
                               and surveys regarding providers' acquisition costs and
                               dispensing costs; cost saving measures considered by the
                               Connecticut Medicaid program; actual acquisition cost;
                               MAC; pharmacy profit margins; access to care under the
                               Medicaid program


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Bernie Patashnik, CMS         Methodologies, policies, and procedures concerning drug
                              reimbursement under Medicare or Medicaid;
                              implementation of those methodologies, policies, and
                              procedures
Jim Peters, Oregon Medicaid   Reimbursement methodologies for prescription drugs
                              under the Oregon Medicaid program; goals of the
                              Oregon Medicaid program; access to care under the
                              Oregon Medicaid program; actual acquisition cost;
                              AWP; wholesale acquisition cost; AMP; ingredient cost;
                              usual and customary charge; EAC; MAC; FULs;
                              Medicaid rebates, including supplemental rebate
                              agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; State Plans; audit
                              reports and surveys regarding providers' acquisition
                              costs and dispensing costs; providers' lobbying efforts
                              and communications; meetings and communications of
                              the State Medicaid Directors' Association
Andrew Peterson, OEI          AWP; providers' acquisition costs; preparation of the
                              following OEI report: Medicare Reimbursement for
                              Parental Nutrition, OEI-03-96-00230
Dorothy Poulsen, Montana      Cost saving measures considered by the Montana
DPHHS                         Medicaid program; reimbursement methodologies for
                              prescription drugs under the Montana Medicaid program;
                              AWP; actual acquisition costs; Direct Price; access to
                              care under the Montana Medicaid program; dispensing
                              fees and dispensing costs, including adequacy of
                              dispensing fees
Vincent Powell, CMS           Medicaid Drug Rebate Program

Duane Preshinger, Montana     Reimbursement methodologies for prescription drugs
DPHHS                         under the Montana Medicaid program; cost saving
111 North Sanders             measures considered by the Montana Medicaid program;
PO Box 4210                   dispensing fees and dispensing costs, including adequacy
Helena, MT 59604              of dispensing fees; access to care under the Montana
(406) 444-4145                Medicaid program
Kenneth R. Price, OEI         AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW   following OEI report: Review Of Services Provided By
Room 5660                     Inhalation Drug Suppliers, OEI-01-05-00090
Washington, D.C. 20201
(202) 619-0480
Lourdes Puntonet, OEI         AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW   following OEI report: Questionable Practices Involving
Room 5660                     Nebulizer Drug Therapy, OEI-03-94-00391
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(202) 619-0480
Pauline Rader, Texas VDP      Reimbursement methodologies for prescription drugs


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                              under the Texas Medicaid program; actual acquisition
                              costs; AWP; providers' communications with Texas
                              VDP; usual and customary charge
Jerry Radke, Pennsylvania     Reimbursement methodologies for prescription drugs
Medicaid                      under the Pennsylvania Medicaid program; goals of the
                              Pennsylvania Medicaid program; access to care under the
                              Pennsylvania Medicaid program; actual acquisition cost;
                              AWP; wholesale acquisition cost; AMP; ingredient cost;
                              usual and customary charge; EAC; MAC; FULs;
                              Medicaid rebates, including supplemental rebate
                              agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; State Plans; audit
                              reports and surveys regarding providers' acquisition
                              costs and dispensing costs; providers' lobbying efforts
                              and communications ; meetings and communications of
                              the State Medicaid Directors' Association
Linda Ragone, OEI             AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW   following OEI reports: A Comparison of Albuterol
Room 5660                     Sulfate Prices, OEI-03-94-00392; Appropriateness of
Washington, D.C. 20201        Medicare Prescription Drug Allowances, OEI-03-95-
(202) 619-0480                00420; Questionable Practices Involving Nebulizer Drug
                              Therapy, OEI-03-94-00391; Excessive Medicare
                              Payments for Prescription Drugs, OEI-03-97-00290; The
                              Impact of High-Priced Generic Drugs on Medicare and
                              Medicaid, OEI-03-97-00510; Are Medicare Allowances
                              for Albuterol Sulfate Reasonable?, OEI-03-97-00292;
                              Comparing Drug Reimbursement: Medicare and
                              Department of Veterans Affairs, OEI-03-97-00293;
                              Medicare Reimbursement of End Stage Renal Disease
                              Drugs, OEI-03-00-00020; Medicare Reimbursement of
                              Albuterol, OEI-03-00-0031 l; Medicare Reimbursement
                              of Prescription Drugs, OEI-03 -00-003 10; Medicaid
                              Recovery of Pharmacy Payments from Liable Third
                              Parties, OEI-03-00-00030; Medicaid's Use of Revised
                              Average Wholesale Prices, OEI-03-01-00010; Update:
                              Excessive Medicare Reimbursement For Ipratropium
                              Bromide, OEI-03-03-00520; Update: Excessive
                              Medicare Reimbursement For Albuterol, OEI-03-03-
                              00510; Omission of Drugs from The Federal Upper
                              Limit List in 2001, OEI-03-02-00670; Addition of
                              Qualified Drugs to the Medicaid Federal Upper Limit
                              List, OEI-03-04-00320; Comparison of Medicaid Federal
                              Upper Limit Amounts to Average Manufacturers Price,
                              OEI-03-05-00110; Medicaid Drug Price Comparison:
                              Average Sales Price to Average Wholesale Price, OEI-
                              03-05-00200; How Inflated Published Prices Affect


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                               Drugs Considered for the Federal Upper Limit List, OEI-
                               03-05-00350; Calculation Of Volume-Weighted Average
                               Sales Price For Medicare Part B Prescription Drugs,
                               OEI-03 -05 -003 10; Monitoring Medicare Part B Drug
                               Prices: A Comparison of Average Sales Prices To
                               Average Manufacturer Prices, OEI-03-04-00430
Vivek Rao, OEI                 AWP; providers' acquisition costs; preparation of the
                               following OEI report: Appropriateness of Medicare
                               Prescription Drug Allowances, OEI-03-95-00420
Larry Reed, CMS                Methodologies, policies, and procedures concerning drug
7500 Security Boulevard        reimbursement under Medicare or Medicaid;
Baltimore, Maryland 21244      implementation of those methodologies, policies, and
(410) 786-3000                 procedures; Medicaid Drug Rebate Program
Robert Reid, Ohio Department   Conduct of Ohio's Medicaid program; goals of the Ohio
of Job and Family Services     Medicaid program; United States' alleged damages;
                               reimbursement methodologies for prescription drugs
                               under the Ohio Medicaid program; access to care under
                               the Ohio Medicaid program; actual acquisition cost;
                               AWP; WAC, AMP; URA; ingredient cost; usual and
                               customary charge; claims; providers; EAC; MAC; FULs;
                               Medicaid rebates, including supplemental rebate
                               agreements; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees; State Plans; audit
                               reports and surveys regarding providers' acquisition
                               costs and dispensing costs; providers' lobbying efforts
                               and communications; Medicaid statutes, regulations,
                               rules, policies, and handbooks; communications with
                               drug manufacturers; claims processing; markets for
                               brand and generic drugs; Ohio and HHS's knowledge of
                               difference between providers' average/actual acquisition
                               costs and published AWP and WAC; communications
                               with HHS and other employees of other state's Medicaid
                               programs; any topic discussed at deponent's deposition;
                               pharmacy profit margins; DOJ AWPs; meetings and
                               communications of the State Medicaid Directors'
                               Association or other similar groups; communications
                               with OIG; communications with other states; PTAG
Rhonda Rhoades, CMS            Methodologies, policies, and procedures concerning drug
                               reimbursement under Medicare or Medicaid;
                               implementation of those methodologies, policies, and
                               procedures; Medicaid Drug Rebate Program
Sally Richardson, CMS          Methodologies, policies, and procedures concerning drug
                               reimbursement under Medicare or Medicaid;
                               implementation of those methodologies, policies, and
                               procedures; Medicaid Drug Rebate Program
C. Benny Ridout, North         Reimbursement methodologies for prescription drugs


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Carolina Division of Medical   under the North Carolina Medicaid program; actual
Assistance ("DMA")             acquisition cost; AWP; ingredient cost; EAC; MAC;
                               FULs; dispensing fees and dispensing costs, including
                               adequacy of dispensing fees; audit reports and surveys
                               regarding providers' acquisition costs and dispensing
                               costs; Medicaid regulations, rules, and policies;
                               providers; claims; DOJ AWPs; markets for brand and
                               generic drugs
Brian Ritchie, OEI             AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW    following OEI reports: Questionable Practices Involving
Room 5660                      Nebulizer Drug Therapy, OEI-03-94-00391; Medicare
Washington, D.C. 20201         Reimbursement for Parental Nutrition, OEI-03-96-
(202) 619-0480                 00230; Medicare Reimbursement of End Stage Renal
                               Disease Drugs, OEI-03-00-00020
Elizabeth Richter, CMS         Reimbursement methodologies for prescription drugs
                               under the Medicare and Medicaid programs; goals of the
                               Medicare and Medicaid programs; access to care under
                               the Medicare and Medicaid programs; actual acquisition
                               cost; AWP; WAC; AMP; Best Price; average sales price
                               ("ASP"); ingredient cost; usual and customary charge;
                               EAC; MAC; FUL; Medicaid rebates and Medicaid rebate
                               agreements; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees; approval of State
                               Medicaid plans; federal funding of State Medicaid
                               programs; audit reports and surveys regarding providers'
                               acquisition costs and dispensing costs; providers'
                               lobbying efforts and communications with HCFA/CMS;
                               Medicaid and Medicare statutes, regulations, rules, and
                               policies; communications with drug manufacturers;
                               markets for brand and generic drugs; inherent
                               reasonableness authority; Medicare carriers and authority
                               to set reimbursement rates
Thomas J. Robertson, OEI       AWP; providers' acquisition costs; preparation of the
                               following OEI report: Medicare Payments For Nebulizer
                               Drugs, OEI-03-94-00390
Victoria Robey, CMS            Reimbursement methodologies for prescription drugs
                               under the Medicare and Medicaid programs; goals of the
                               Medicare and Medicaid programs; access to care under
                               the Medicare and Medicaid programs; actual acquisition
                               cost; AWP; WAC; AMP; Best Price; average sales price
                               ("ASP"); ingredient cost; usual and customary charge;
                               EAC; MAC; FUL; Medicaid rebates and Medicaid rebate
                               agreements; dispensing fees and dispensing costs,
                               including adequacy of dispensing fees; approval of State
                               Medicaid plans; federal funding of State Medicaid
                               programs; audit reports and surveys regarding providers'


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                              acquisition costs and dispensing costs; providers'
                              lobbying efforts and communications with HCFA/CMS;
                              Medicaid and Medicare statutes, regulations, rules, and
                              policies; communications with drug manufacturers;
                              markets for brand and generic drugs; inherent
                              reasonableness authority; Medicare carriers and authority
                              to set reimbursement rates
Mike Robinson, Kentucky DMS   Funding for the Medicaid Program; Medicaid budget
                              crisis; Kentucky's managed care program;
                              reimbursement methodologies for prescription drugs
                              under the Kentucky Medicaid program; goals of the
                              Kentucky Medicaid program; access to care under the
                              Kentucky Medicaid program; actual acquisition cost;
                              AWP; WAC; AMP; ingredient cost; usual and customary
                              charge; EAC; MAC; FULs; Medicaid rebates, including
                              supplemental rebate agreements; dispensing fees and
                              dispensing costs, including adequacy of dispensing fees;
                              State Plans, including state flexibility in creating
                              reimbursement methodologies; audit reports and surveys
                              regarding providers' acquisition costs and dispensing
                              costs, including the Myers & Stauffer reports; providers'
                              lobbying efforts, including contact with pharmacy
                              representatives; reimbursement formulas of non-
                              Medicaid payors; communication with manufacturers.
Peter Rodler, CMS             Methodologies, policies, and procedures concerning drug
                              reimbursement under Medicare or Medicaid;
                              implementation of those methodologies, policies, and
                              procedures; Medicaid Drug Rebate Program
Stan Rosenstein, California   Conduct of California's Medicaid program; goals of the
DHCS, Legislative and         California Medicaid program; United States' alleged
Government Unit               damages; reimbursement methodologies for prescription
                              drugs under the California Medicaid program; access to
                              care under the California Medicaid program; actual
                              acquisition cost; AWP; WAC, AMP; URA; ingredient
                              cost; usual and customary charge; claims; providers;
                              EAC; MAC; FULs; Medicaid rebates, including
                              supplemental rebate agreements; dispensing fees and
                              dispensing costs, including adequacy of dispensing fees;
                              State Plans; audit reports and surveys regarding
                              providers' acquisition costs and dispensing costs;
                              providers' lobbying efforts and communications;
                              Medicaid statutes, regulations, rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs;
                              California and HHS's knowledge of difference between
                              providers' average/actual acquisition costs and published


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                            AWP and WAC; communications with HHS and other
                            employees of other state's Medicaid programs; any topic
                            discussed at deponent's deposition; pharmacy profit
                            margins; DOJ AWPs; meetings and communications of
                            the State Medicaid Directors' Association or other
                            similar groups; communications with the California
                            legislature regarding Medicaid reimbursement
                            methodologies
Ann Rugg, Vermont           Conduct of Vermont's Medicaid program; goals of the
Department of Health        Vermont Medicaid program; United States' alleged
                            damages; reimbursement methodologies for prescription
                            drugs under the Vermont Medicaid program; access to
                            care under the Vermont Medicaid program; actual
                            acquisition cost; AWP; WAC, AMP; URA; ingredient
                            cost; usual and customary charge; claims; providers;
                            EAC; MAC; FULs; Medicaid rebates, including
                            supplemental rebate agreements; dispensing fees and
                            dispensing costs, including adequacy of dispensing fees;
                            State Plans; audit reports and surveys regarding
                            providers' acquisition costs and dispensing costs;
                            providers' lobbying efforts and communications;
                            Medicaid statutes, regulations, rules, policies, and
                            handbooks; communications with drug manufacturers;
                            claims processing; markets for brand and generic drugs;
                            Vermont and HHS's knowledge of difference between
                            providers' average/actual acquisition costs and published
                            AWP and WAC; communications with HHS and other
                            employees of other state's Medicaid programs; any topic
                            discussed at deponent's deposition; pharmacy profit
                            margins; DOJ AWPs; meetings and communications of
                            the State Medicaid Directors' Association or other
                            similar groups.
Gordon Sato, OEI            AWP; providers' acquisition costs; preparation of the
                            following OEI reports: HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the California
                            Department of Health Services" (A-06-95-00062, May
                            31, 1996); HHS-OIG, "Review of Pharmacy Acquisition
                            Costs for Drugs Reimbursed Under the Medicaid
                            Prescription Drug Program of the Montana Department
                            of Public Health and Human Services" (A-06-95-00068,
                            Jul. 11, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the Florida
                            Agency for Health Administration" (A-06-95-00065,
                            Aug. 13, 1996); HHS-OIG, "Review of Pharmacy


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                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the North
                            Carolina Department of Human Resources" (A-06-95-
                            00071, Sep. 4, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the Delaware
                            Department of Health and Human Service" (A-06-95-
                            00063, Sep. 12, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the Virginia
                            Department of Medical Assistance Services" (A-06-95-
                            00072, Nov. 21, 1996); HHS-OIG, "Review of Pharmacy
                            Acquisition Costs for Drugs Reimbursed Under the
                            Medicaid Prescription Drug Program of the New Jersey
                            Department of Human Services" (A-06-95-00070, Dec.
                            6, 1996); HHS-OIG, "Review of Pharmacy Acquisition
                            Costs for Drugs Reimbursed Under the Medicaid
                            Prescription Drug Program of the Nebraska Department
                            of Social Services" (A-06-95-00069, Dec. 24, 1996);
                            HHS-OIG, "Review of Pharmacy Acquisition Costs for
                            Drugs Reimbursed Under the Medicaid Prescription
                            Drug Program of the Missouri Department of Social
                            Services" (A-06-95-00067, Jan. 21, 1997); HHS-OIG,
                            "Review of Pharmacy Acquisition Costs for Drugs
                            Reimbursed Under the Medicaid Prescription Drug
                            Program of the District of Columbia Department of
                            Human Services" (A-06-95-00064, Jan. 31, 1997);
                            HHS-OIG, "Review of Pharmacy Acquisition Costs for
                            Drugs Reimbursed Under the Medicaid Prescription
                            Drug Program of the Maryland Department of Health
                            and Mental Hygiene" (A-06-95-00066, Feb. 12, 1997);
                            HHS-OIG, "Medicaid Pharmacy - Actual Acquisition
                            Cost of Prescription Drug Products for Brand Name
                            Drugs" (A-06-96-00030, Apr. 10, 1997); HHS-OIG,
                            "Medicaid Pharmacy - Actual Acquisition Cost of
                            Generic Prescription Drug Products" (A-06-97-00011,
                            Aug.. 4, 1997); HHS-OIG, "OIG's Partnership Plan -
                            Utah Division of Health Care Financing Reports on
                            Medicaid Pharmacy Acquisition Costs of Brand Name
                            and Generic Drugs" (A-06-99-00035 and A-06-99-
                            00036, May 4, 1999); HHS-OIG, "Medicaid Pharmacy -
                            Actual Acquisition Price of Brand Name Prescription
                            Drug Products" (A-06-00-0023, Aug. 10, 2001); HHS-
                            OIG, "Review of Pharmacy Acquisition Cost for Drugs
                            Under Medicaid Prescription Drug Program of West
                            Virginia Department of Health" (A-06-01-00007, Dec.



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                              31, 2001); HHS-OIG, "Medicaid Pharmacy -Actual
                              Acquisition Cost of Generic Prescription Drug Products"
                              (A-06-01-00053, Mar. 14, 2002); HHS-OIG, "Use of
                              Average Wholesale Price in Reimbursing Pharmacies
                              Participating in Medicaid and the Medicare Prescription
                              Drug Program" (A-06-89-0037, Oct. 1989); HHS-OIG,
                              "Medicaid Drug Rebates - Improvements Needed in the
                              Health Care Financing Administration's Procedures to
                              Implement the Medicaid Drug Rebate Program" (A-06-
                              91-00102, Apr. 23, 1992);HHS-OIG, "Medicaid Drug
                              Rebates - Inaccurate Reporting of Medicaid Drug Data
                              by Pharmacists" (A-06-91-00056, June 5, 1992); HHS-
                              OIG, "Medicaid Drug Rebates - The Health Care
                              Financing Administration Needs to Provide Additional
                              Guidance to Drug Manufacturers to Better Implement the
                              Program" (A-06-91-00092, Nov. 16, 1992); HHS-OIG,
                              "Review of Management Controls Over the Medicaid
                              Prescription Drug Rebate Program" (A-06-92-00029,
                              Jun. 9, 1993); HHS-OIG, "Audit of the Arkansas
                              Department of Human Services' Medicaid Drug
                              Prescriptions Drug Rebate Program" (A-06-93-00003,
                              July 30, 1993); HHS-OIG, "Elimination of the Weighted
                              Average Manufacturer Price Provisions of the Medicaid
                              Outpatient Prescription Drug Rebate Program" (A-06-93-
                              00070, Dec. 28,1993); HHS-OIG, "Medicaid Program
                              Savings Through the Use of Therapeutically Equivalent
                              Generic Drugs" (A-06-93-00008, July 7, 1994); HHS-
                              OIG, "Medicare Part B Reimbursement to Providers for
                              Drugs in Conjunction with Durable Medical Equipment"
                              (A-06-92-0079, Aug. 14, 1995); HHS-OIG, "Need to
                              Establish Connection Between the Calculation of
                              Medicaid Drug Rebates and Reimbursement for
                              Medicaid Drugs" (A-06-97-00052, May 8, 1998).
Craig Schneider, OEI          AWP; providers' acquisition costs; preparation of the
                              following OEI report: Medicaid Drug Use Review
                              Programs, OEI-01-92-00800
Louise Schoggen, OEI          AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW   following OEI reports: Medicaid Drug Price
Room 5660                     Comparisons: Average Manufacturer Price To Published
Washington, D.C. 20201        Prices, OEI-05-05-00240; Generic Drug Utilization in
(202) 619-0480                State Medicaid Programs, OEI-05-05-00360; Medicaid
                              Drug Price Comparisons: Average Manufacturer Price
                              To Published Prices, OEI-05-05-00240
David Schrag, OEI             AWP; providers' acquisition costs; preparation of the
                              following OEI report: Prescription Drug Promotion
                              Involving Payments and Gifts: Physicians' Perspectives,


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                                OEI-01-90-00481

Bernadette Schumaker, CMS       Methodologies, policies, and procedures concerning drug
                                reimbursement under Medicare or Medicaid;
                                implementation of those methodologies, policies, and
                                procedures
Thomas Scully, CMS              Reimbursement methodologies for prescription drugs
                                under the Medicare and Medicaid programs; goals of the
                                Medicare and Medicaid programs; access to care under
                                the Medicare and Medicaid programs; actual acquisition
                                cost; AWP; wholesale acquisition cost; AMP; Best Price;
                                ASP; ingredient cost; usual and customary charge; EAC;
                                MAC; FUL; Medicaid rebates and Medicaid rebate
                                agreements; dispensing fees and dispensing costs,
                                including adequacy of dispensing fees; approval of State
                                Medicaid plans; federal funding of State Medicaid
                                programs; audit reports and surveys regarding providers'
                                acquisition costs and dispensing costs; providers'
                                lobbying efforts and communications with HCFA/CMS;
                                Medicaid and Medicare statutes, regulations, rules, and
                                policies; communications with drug manufacturers;
                                markets for brand and generic drugs; inherent
                                reasonableness authority; Medicare carriers and authority
                                to set reimbursement rates
Amy Semyak, OEI                 AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW     following OEI report: Suppliers' Acquisitions Costs for
Room 5660                       Albuterol Sulfate, OEI-03-94-00393; Questionable
Washington, D.C. 20201          Practices Involving Nebulizer Drug Therapy, OEI-03-94-
(202) 619-0480                  00391; Excessive Medicare Payments for Prescription
                                Drugs, OEI-03-97-00290; Suppliers' Acquisitions Costs
                                for Albuterol Sulfate, OEI-03-94-00393
Gail Sexton, CMS                Methodologies, policies, and procedures concerning drug
                                reimbursement under Medicare or Medicaid;
                                implementation of those methodologies, policies, and
                                procedures; Medicaid Drug Rebate Program; setting and
                                establishment of FULs; the FUL program
Arnold Shapiro, MassHealth      Reimbursement methodologies for prescription drugs
                                under the Massachusetts Medicaid program; drug
                                pricing; Medicaid reimbursement; AWP; WAC

Michael Sharp, Indiana Office   Reimbursement methodologies for prescription drugs
of Medicaid Policy and          under the Indiana Medicaid program; dispensing fees and
Planning                        dispensing costs, including adequacy of dispensing fees;
                                access to care under the Indiana Medicaid program;
                                actual acquisition cost; AWP; wholesale acquisition cost
                                ("WAC"); AMP; ingredient cost; usual and customary


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                              charge; estimated acquisition cost ("EAC"); MAC; FUL;
                              State Plans; audit reports and surveys regarding
                              providers' acquisition costs and dispensing costs;
                              providers' lobbying efforts and communications with
                              Indiana Medicaid; Medicaid statutes, regulations, rules,
                              and policies; communications with drug manufacturers;
                              markets for brand and generic drugs; cost saving
                              measures considered by the Indiana Medicaid program
Robert Sharpe, Florida AHCA   Reimbursement methodologies for prescription drugs
                              under the Florida Medicaid program; goals of the Florida
                              Medicaid program; access to care under the Florida
                              Medicaid program; actual acquisition cost; AWP; WAC;
                              AMP; ingredient cost; usual and customary charge; EAC;
                              MAC; FULs; Medicaid rebates, including supplemental
                              rebate agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; State Plans; audit
                              reports and surveys regarding providers' acquisition
                              costs and dispensing costs; providers' lobbying efforts
                              and communications with AHCA; Medicaid statutes,
                              regulations, rules, policies, and handbooks;
                              communications with drug manufacturers; Dey's price
                              reporting to AHCA and First DataBank; information
                              provided to AHCA by First DataBank; services provided
                              by Provider Synergies and ACS; claims processing;
                              markets for brand and generic drugs
Ethan Shaw, OEI               AWP; providers' acquisition costs; preparation of the
                              following OEI reports: Questionable Practices Involving
                              Nebulizer Drug Therapy, OEI-03-94-00391; Excessive
                              Medicare Payments for Prescription Drugs, OEI-03-97-
                              00290
David B. Shepherd, Virginia   Conduct of Virginia's Medicaid program; goals of the
DMAS                          Virginia Medicaid program; United States' alleged
                              damages; reimbursement methodologies for prescription
                              drugs under the Virginia Medicaid program; access to
                              care under the Virginia Medicaid program; actual
                              acquisition cost; AWP; WAC, AMP; URA; ingredient
                              cost; usual and customary charge; claims; providers;
                              EAC; MAC; FULs; Medicaid rebates, including
                              supplemental rebate agreements; dispensing fees and
                              dispensing costs, including adequacy of dispensing fees;
                              State Plans; audit reports and surveys regarding
                              providers' acquisition costs and dispensing costs;
                              providers' lobbying efforts and communications;
                              Medicaid statutes, regulations, rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs;


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                                Virginia and HHS's knowledge of difference between
                                providers' average/actual acquisition costs and published
                                AWP and WAC; communications with HHS and other
                                employees of other state's Medicaid programs; any topic
                                discussed at deponent's deposition; pharmacy profit
                                margins; DOJ AWPs; meetings and communications of
                                the State Medicaid Directors' Association or other
                                similar groups; communications with OIG.
Reuben Shimazu, Hawaii DHS      Conduct of Hawaii's Medicaid program; goals of the
                                Hawaii Medicaid program; access to care under the
                                Hawaii Medicaid program; communications with HHS
                                and other employees of other state's Medicaid programs;
                                any topic discussed at deponent's deposition; cost saving
                                measures; State Plans; communications with providers
                                regarding reimbursement
Marc Shirley, R. Ph., Indiana   Conduct of Indiana's Medicaid program; goals of the
Family and Social Services      Indiana Medicaid program; United States' alleged
Administration                  damages; reimbursement methodologies for prescription
                                drugs under the Indiana Medicaid program; access to
                                care under the Indiana Medicaid program; actual
                                acquisition cost; AWP; WAC, AMP; URA; ingredient
                                cost; usual and customary charge; claims; providers;
                                EAC; MAC; FULs; Medicaid rebates, including
                                supplemental rebate agreements; dispensing fees and
                                dispensing costs, including adequacy of dispensing fees;
                                State Plans; audit reports and surveys regarding
                                providers' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and
                                handbooks; communications with drug manufacturers;
                                claims processing; markets for brand and generic drugs;
                                Indiana and HHS's knowledge of difference between
                                providers' average/actual acquisition costs and published
                                AWP and WAC; communications with HHS and other
                                employees of other state's Medicaid programs; any topic
                                discussed at deponent's deposition; pharmacy profit
                                margins; DOJ AWPs; meetings and communications of
                                the State Medicaid Directors' Association or other
                                similar groups.
Linda Sizelove, CMS             Methodologies, policies, and procedures concerning drug
                                reimbursement under Medicare or Medicaid;
                                implementation of those methodologies, policies, and
                                procedures; Medicaid Drug Rebate Program




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Dennis C. Smith, CMS          Methodologies, policies, and procedures concerning drug
7500 Security Boulevard       reimbursement under Medicare or Medicaid;
Baltimore, Maryland 21244     implementation of those methodologies, policies, and
(410) 786-3000                procedures; Medicaid Drug Rebate Program
Joyce Somsak, CMS             Reimbursement methodologies for prescription drugs
                              under the Medicare and Medicaid programs; goals of the
                              Medicare and Medicaid programs; access to care under
                              the Medicare and Medicaid programs; actual acquisition
                              cost; AWP; WAC; AMP ; Best Price; average sales price
                              ("ASP"); ingredient cost; usual and customary charge;
                              EAC; MAC; FUL; Medicaid rebates and Medicaid rebate
                              agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; approval of State
                              Medicaid plans; federal funding of State Medicaid
                              programs; audit reports and surveys regarding providers'
                              acquisition costs and dispensing costs; providers'
                              lobbying efforts and communications with HCFA/CMS;
                              Medicaid and Medicare statutes , regulations, rules, and
                              policies; communications with drug manufacturers;
                              markets for brand and generic drugs; inherent
                              reasonableness authority; Medicare carriers and authority
                              to set reimbursement rates
Laurie Squartsoff, Nevada     Reimbursement methodologies for prescription drugs
DHCFP                         under the Nevada Medicaid program; AWP; actual
                              acquisition cost; access to care under the Nevada
                              Medicaid program; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees
Elise Stein, OEI              AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW   following OEI report: Cost Containment of Medicaid
Room 5660                     HIV/AIDS Drug Expenditures, OEI-05-99-00611
Washington, D.C. 20201
(202) 619-0480
Gene Stephens, Kansas         Reimbursement methodologies for prescription drugs
Medicaid                      under the Kansas Medicaid program; goals of the Kansas
                              Medicaid program; access to care under the Kansas
                              Medicaid program; actual acquisition cost; AWP;
                              wholesale acquisition cost; AMP; ingredient cost; usual
                              and customary charge; EAC; MAC; FULs; Medicaid
                              rebates, including supplemental rebate agreements;
                              dispensing fees and dispensing costs, including adequacy
                              of dispensing fees; State Plans; audit reports and surveys
                              regarding providers' acquisition costs and dispensing
                              costs; providers' lobbying efforts and communications;
                              meetings and communications of the State Medicaid
                              Directors' Association
Robert Stevens, New Mexico    Conduct of New Mexico's Medicaid program; goals of

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Human Services Department,    the New Mexico Medicaid program; United States'
Medical Assistance Division   alleged damages; reimbursement methodologies for
                              prescription drugs under the New Mexico Medicaid
                              program; access to care under the New Mexico Medicaid
                              program; actual acquisition cost; AWP; WAC, AMP;
                              URA; ingredient cost; usual and customary charge;
                              claims; providers; EAC; MAC; FULs; Medicaid rebates,
                              including supplemental rebate agreements; dispensing
                              fees and dispensing costs, including adequacy of
                              dispensing fees; State Plans; audit reports and surveys
                              regarding providers' acquisition costs and dispensing
                              costs; providers' lobbying efforts and communications;
                              Medicaid statutes, regulations, rules, policies, and
                              handbooks; communications with drug manufacturers;
                              claims processing; markets for brand and generic drugs;
                              New Mexico and HHS's knowledge of difference
                              between providers' average/actual acquisition costs and
                              published AWP and WAC; communications with HHS
                              and other employees of other state's Medicaid programs;
                              any topic discussed at deponent's deposition; pharmacy
                              profit margins; DOJ AWPs; meetings and
                              communications of the State Medicaid Directors'
                              Association or other similar groups.
Mark Stiglitz, OEI            AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW   following OEI report: Generic Drug Utilization in State
Room 5660                     Medicaid Programs, OEI-05-05-00360
Washington, D.C. 20201
(202) 619-0480
Leo Sullivan, TennCare        Reimbursement methodologies for prescription drugs
                              under the Tennessee Medicaid program; dispensing fees
                              and dispensing costs, including adequacy of dispensing
                              fees; access to care under the Tennessee Medicaid
                              program; actual acquisition cost; AWP; wholesale
                              acquisition cost ("WAC"); AMP; ingredient cost; usual
                              and customary charge; estimated acquisition cost
                              ("EAC"); MAC; FUL; State Plans; audit reports and
                              surveys regarding providers' acquisition costs and
                              dispensing costs; providers' lobbying efforts and
                              communications with Tennessee Medicaid; Medicaid
                              statutes, regulations, rules, and policies; communications
                              with drug manufacturers; markets for brand and generic
                              drugs; cost saving measures considered by the Tennessee
                              Medicaid program
Ron Taniguchi, Hawaii DHS     Conduct of Hawaii's Medicaid program; goals of the
                              Hawaii Medicaid program; United States' alleged
                              damages; reimbursement methodologies for prescription


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                              drugs under the Hawaii Medicaid program; access to care
                              under the Hawaii Medicaid program; actual acquisition
                              cost; AWP; WAC, AMP; URA; ingredient cost; usual
                              and customary charge; claims; providers; EAC; MAC;
                              FULs; Medicaid rebates, including supplemental rebate
                              agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; Medicaid statutes,
                              regulations, rules, policies, and handbooks;
                              communications with drug manufacturers; claims
                              processing; markets for brand and generic drugs; Hawaii
                              and HHS's knowledge of difference between providers'
                              average/actual acquisition costs and published AWP and
                              WAC; communications with HHS and other employees
                              of other state's Medicaid programs; any topic discussed
                              at deponent's deposition; pharmacy profit margins;
                              meetings and communications of the State Medicaid
                              Directors' Association or other similar groups; pricing of
                              prescription drugs in Hawaii
David Tawes, OEI              AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW   following OEI reports: Excessive Medicare Payments
Room 5660                     for Prescription Drugs, OEI-03-97-00290; Comparing
Washington, D.C. 20201        Drug Reimbursement: Medicare and Department of
(202) 619-0480                Veterans Affairs, OEI-03-97-00293; Medicare
                              Reimbursement of End Stage Renal Disease Drugs, OEI-
                              03-00-00020; Medicare Reimbursement of Albuterol,
                              OEI-03-00-0031 l; Medicare Reimbursement of
                              Prescription Drugs, OEI-03-00-00310; Medicaid's Use
                              of Revised Average Wholesale Prices, OEI-03-01-00010;
                              Update: Excessive Medicare Reimbursement For
                              Ipratropium Bromide, OEI-03-03-00520; Update:
                              Excessive Medicare Reimbursement For Albuterol, OEI-
                              03 -03 -005 10; Omission of Drugs from The Federal
                              Upper Limit List in 2001, OEI-03-02-00670; Addition of
                              Qualified Drugs to the Medicaid Federal Upper Limit
                              List, OEI-03-04-00320; Comparison of Medicaid Federal
                              Upper Limit Amounts to Average Manufacturers Price,
                              OEI-03-05-00110; How Inflated Published Prices Affect
                              Drugs Considered for the Federal Upper Limit List, OEI-
                              03-05-00350; A Comparison of Average Sales Prices To
                              Widely Available Market Prices: Fourth Quarter 2005,
                              OEI-03-05-00430; Comparison of Fourth-Quarter 2005
                              Averages Sales Prices To Average Manufacturer Prices:
                              Impact on Medicare Reimbursement For Second Quarter
                              2006, OEI-03-06-00370
Barbara Tedesco, OEI          AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW   following OEI reports: Prescription Drug Promotion


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Room 5660                    Involving Payments and Gifts: Physicians' Perspectives,
Washington, D.C. 20201       OEI-01-90-00481; Questionable Practices Involving
(202) 619-0480               Nebulizer Drug Therapy, OEI-03-94-00391; State
                             Strategies To Contain Medicaid Drug Costs, OEI-05-02-
                             00680; Variation In State Medicaid Drug Prices, OEI-05-
                             02-00681; Review Of Services Provided By Inhalation
                             Drug Suppliers , OEI-01 -05-00090
Len Terra, California DHCS   Conduct of California's Medicaid program; goals of the
                             California Medicaid program; United States' alleged
                             damages; reimbursement methodologies for prescription
                             drugs under the California Medicaid program; access to
                             care under the California Medicaid program; actual
                             acquisition cost; AWP; WAC, AMP; URA; ingredient
                             cost; usual and customary charge; claims; providers;
                             EAC; MAC; FULs; Medicaid rebates, including
                             supplemental rebate agreements; dispensing fees and
                             dispensing costs, including adequacy of dispensing fees;
                             State Plans; audit reports and surveys regarding
                             providers' acquisition costs and dispensing costs;
                             providers' lobbying efforts and communications;
                             Medicaid statutes , regulations , rules, policies, and
                             handbooks; communications with drug manufacturers;
                             claims processing; markets for brand and generic drugs;
                             California and HHS's knowledge of difference between
                             providers ' average/actual acquisition costs and published
                             AWP and WAC; communications with HHS and other
                             employees of other state's Medicaid programs; any topic
                             discussed at deponent's deposition; pharmacy profit
                             margins; DOJ AWPs; meetings and communications of
                             the State Medicaid Directors' Association or other
                             similar groups.
Mary Julia Terrebonne,       Reimbursement methodologies for prescription drugs
Louisiana Medicaid           under the Louisiana Medicaid program; dispensing fees
                             and dispensing costs, including adequacy of dispensing
                             fees; access to care under the Louisiana Medicaid
                             program; actual acquisition cost; AWP; wholesale
                             acquisition cost ("WAC"); AMP ; ingredient cost; usual
                             and customary charge; estimated acquisition cost
                             ("EAC"); MAC; FUL; State Plans; audit reports and
                             surveys regarding providers' acquisition costs and
                             dispensing costs; providers' lobbying efforts and
                             communications with Louisiana Medicaid; Medicaid
                             statutes , regulations, rules, and policies; communications
                             with drug manufacturers; markets for brand and generic
                             drugs; cost saving measures considered by the Louisiana
                             Medicaid program


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Frank Tetkoski, former      Conduct of Maryland's Medicaid program; goals of the
Maryland DHMH               Maryland Medicaid program; United States' alleged
                            damages; reimbursement methodologies for prescription
                            drugs under the Maryland Medicaid program; access to
                            care under the Maryland Medicaid program; actual
                            acquisition cost; AWP; WAC, AMP; URA; ingredient
                            cost; usual and customary charge; claims; providers;
                            EAC; MAC; FULs; Medicaid rebates, including
                            supplemental rebate agreements; dispensing fees and
                            dispensing costs, including adequacy of dispensing fees;
                            State Plans; audit reports and surveys regarding
                            providers' acquisition costs and dispensing costs;
                            providers' lobbying efforts and communications;
                            Medicaid statutes, regulations, rules, policies, and
                            handbooks; communications with drug manufacturers;
                            claims processing; markets for brand and generic drugs;
                            Maryland and HHS's knowledge of difference between
                            providers' average/actual acquisition costs and published
                            AWP and WAC; communications with HHS and other
                            employees of other state's Medicaid programs; any topic
                            discussed at deponent's deposition; pharmacy profit
                            margins; DOJ AWPs; meetings and communications of
                            the State Medicaid Directors' Association or other
                            similar groups; communications with OIG
Bryan Tomlinson, Virginia   Conduct of Virginia's Medicaid program; goals of the
DMAS                        Virginia Medicaid program; United States' alleged
                            damages; reimbursement methodologies for prescription
                            drugs under the Virginia Medicaid program; access to
                            care under the Virginia Medicaid program; actual
                            acquisition cost; AWP; WAC, AMP; URA; ingredient
                            cost; usual and customary charge; claims; providers;
                            EAC; MAC; FULs; Medicaid rebates, including
                            supplemental rebate agreements; dispensing fees and
                            dispensing costs, including adequacy of dispensing fees;
                            State Plans; audit reports and surveys regarding
                            providers' acquisition costs and dispensing costs;
                            providers' lobbying efforts and communications;
                            Medicaid statutes, regulations, rules, policies, and
                            handbooks; communications with drug manufacturers;
                            claims processing; markets for brand and generic drugs;
                            Virginia and HHS's knowledge of difference between
                            providers' average/actual acquisition costs and published
                            AWP and WAC; communications with HHS and other
                            employees of other state's Medicaid programs; any topic
                            discussed at deponent's deposition; pharmacy profit
                            margins; DOJ AWPs; meetings and communications of


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                             the State Medicaid Directors' Association or other
                             similar groups.
Don Thompson, CMS            Reimbursement methodologies for prescription drugs
                             under the Medicare and Medicaid programs; goals of the
                             Medicare and Medicaid programs; access to care under
                             the Medicare and Medicaid programs; actual acquisition
                             cost; AWP; WAC; AMP; Best Price; average sales price
                             ("ASP"); ingredient cost; usual and customary charge;
                             EAC; MAC; FUL; Medicaid rebates and Medicaid rebate
                             agreements; dispensing fees and dispensing costs,
                             including adequacy of dispensing fees; approval of State
                             Medicaid plans; federal funding of State Medicaid
                             programs; audit reports and surveys regarding providers'
                             acquisition costs and dispensing costs; providers'
                             lobbying efforts and communications with HCFA/CMS;
                             Medicaid and Medicare statutes, regulations, rules, and
                             policies; communications with drug manufacturers;
                             markets for brand and generic drugs; inherent
                             reasonableness authority; Medicare carriers and authority
                             to set reimbursement rates
Penny Thompson, OEI          AWP; providers' acquisition costs; preparation of the
                             following OEI report: Prescription Drug Promotion
                             Involving Payments and Gifts: Physicians' Perspectives,
                             OEI-01-90-00481
Thompson PDR Inc.            Knowledge that prices published in third party pricing
                             compendia, such as Red Book, did not and were not
                             intended to represent the actual acquisition cost of the
                             respective pharmaceuticals for health care providers;
                             relevant pricing terms; setting of generic drug prices
Maureen Tooker, California   Conduct of California's Medicaid program; goals of the
DHCS                         California Medicaid program; United States' alleged
                             damages; reimbursement methodologies for prescription
                             drugs under the California Medicaid program; access to
                             care under the California Medicaid program; actual
                             acquisition cost; AWP; WAC, AMP; URA; ingredient
                             cost; usual and customary charge; claims; providers;
                             EAC; MAC; FULs; Medicaid rebates, including
                             supplemental rebate agreements; dispensing fees and
                             dispensing costs, including adequacy of dispensing fees;
                             State Plans; audit reports and surveys regarding
                             providers' acquisition costs and dispensing costs;
                             providers' lobbying efforts and communications;
                             Medicaid statutes, regulations, rules, policies, and
                             handbooks; communications with drug manufacturers;
                             claims processing; markets for brand and generic drugs;
                             California and HHS's knowledge of difference between


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                                providers ' average/actual acquisition costs and published
                                AWP and WAC; communications with HHS and other
                                employees of other state's Medicaid programs; any topic
                                discussed at deponent's deposition; pharmacy profit
                                margins; DOJ AWPs; meetings and communications of
                                the State Medicaid Directors' Association or other
                                similar groups.
Ivan E. Troy, OEI               AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW     following OEI report: Review Of Services Provided By
Room 5660                       Inhalation Drug Suppliers , OEI-01-05-00090
Washington, D.C. 20201
(202) 619-0480
Edward J. Vaccaro, New Jersey   Conduct of New Jersey's Medicaid program; goals of the
                                New Jersey Medicaid program; United States' alleged
                                damages; reimbursement methodologies for prescription
                                drugs under the New Jersey Medicaid program; access to
                                care under the New Jersey Medicaid program; actual
                                acquisition cost; AWP; WAC, AMP; URA; ingredient
                                cost; usual and customary charge; claims; providers;
                                EAC; MAC; FULs; Medicaid rebates, including
                                supplemental rebate agreements; dispensing fees and
                                dispensing costs, including adequacy of dispensing fees;
                                State Plans; audit reports and surveys regarding
                                providers ' acquisition costs and dispensing costs;
                                providers' lobbying efforts and communications;
                                Medicaid statutes, regulations, rules, policies, and
                                handbooks; communications with drug manufacturers;
                                claims processing; markets for brand and generic drugs;
                                New Jersey and HHS's knowledge of difference between
                                providers' average/actual acquisition costs and published
                                AWP and WAC; communications with HHS and other
                                employees of other state's Medicaid programs; any topic
                                discussed at deponent's deposition; pharmacy profit
                                margins; DOJ AWPs; meetings and communications of
                                the State Medicaid Directors' Association or other
                                similar groups ; communications with OIG
James Vavra, Wisconsin DHS      Drug reimbursement under the Wisconsin Medicaid
                                program; AWP; ASP; WAC; price reporting; access to
                                care under the Wisconsin Medicaid program; dispensing
                                fees and dispensing costs, including adequacy of
                                dispensing fees; providers ' actual acquisition costs;
                                Medicaid statutes , regulations , rules, policies, and
                                handbooks; audit reports and surveys regarding
                                providers ' acquisition costs and dispensing costs
David Veroff, OEI               AWP; providers' acquisition costs; preparation of the
                                following OEI report: Prescription Drug Promotion


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                              Involving Payments and Gifts: Physicians' Perspectives,
                              OEI-01-90-00481
Robert A. Vito, OEI           AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW   following OEI report: A Comparison of Albuterol
Room 5660                     Sulfate Prices, OEI-03-94-00392; Suppliers'
Washington, D.C. 20201        Acquisitions Costs for Albuterol Sulfate, OEI-03-94-
(202) 619-0480                00393; Questionable Practices Involving Nebulizer Drug
                              Therapy, OEI-03-94-00391; Medicare Reimbursement
                              for Parental Nutrition, OEI-03-96-00230; Excessive
                              Medicare Payments for Prescription Drugs, OEI-03-97-
                              00290; The Impact of High-Priced Generic Drugs on
                              Medicare and Medicaid, OEI-03 -97-005 10; Are
                              Medicare Allowances for Albuterol Sulfate Reasonable?,
                              OEI-03-97-00292; Comparing Drug Reimbursement:
                              Medicare and Department of Veterans Affairs, OEI-03-
                              97-00293; Medicare Reimbursement of End Stage Renal
                              Disease Drugs, OEI-03-00-00020; Medicare
                              Reimbursement of Albuterol, OEI-03-00-0031 l;
                              Medicare Reimbursement of Prescription Drugs, OEI-03-
                              00-00310; Medicaid Recovery of Pharmacy Payments
                              from Liable Third Parties, OEI-03-00-00030; Medicaid's
                              Use of Revised Average Wholesale Prices, OEI-03-01-
                              00010; Update: Excessive Medicare Reimbursement For
                              Ipratropium Bromide, OEI-03-03-00520; Update:
                              Excessive Medicare Reimbursement For Albuterol, OEI-
                              03 -03 -005 10; Omission of Drugs from The Federal
                              Upper Limit List in 2001, OEI-03-02-00670; Addition of
                              Qualified Drugs to the Medicaid Federal Upper Limit
                              List, OEI-03-04-00320; Comparison of Medicaid Federal
                              Upper Limit Amounts to Average Manufacturers Price,
                              OEI-03-05-00110; Medicaid Drug Price Comparison:
                              Average Sales Price to Average Wholesale Price, OEI-
                              03-05-00200; How Inflated Published Prices Affect
                              Drugs Considered for the Federal Upper Limit List, OEI-
                              03-05-00350; Calculation Of Volume-Weighted Average
                              Sales Price For Medicare Part B Prescription Drugs,
                              OEI-03 -05 -003 10; Monitoring Medicare Part B Drug
                              Prices: A Comparison of Average Sales Prices To
                              Average Manufacturer Prices, OEI-03-04-00430; A
                              Comparison of Average Sales Prices To Widely
                              Available Market Prices: Fourth Quarter 2005, OEI-03-
                              05-00430, Medicare and Medicaid pricing
                              methodologies, efforts to change or reform Medicare and
                              Medicaid pricing; interactions with Congress and the
                              Legislature
Bruce Vladeck, CMS            Reimbursement methodologies for prescription drugs


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                              under the Medicare and Medicaid programs; goals of the
                              Medicare and Medicaid programs; access to care under
                              the Medicare and Medicaid programs; actual acquisition
                              cost; AWP; wholesale acquisition cost; AMP; Best Price;
                              ASP; ingredient cost; usual and customary charge; EAC;
                              MAC; FUL; Medicaid rebates and Medicaid rebate
                              agreements; dispensing fees and dispensing costs,
                              including adequacy of dispensing fees; approval of State
                              Medicaid plans; federal funding of State Medicaid
                              programs; audit reports and surveys regarding providers'
                              acquisition costs and dispensing costs; providers'
                              lobbying efforts and communications with HCFA/CMS;
                              Medicaid and Medicare statutes, regulations, rules, and
                              policies; communications with drug manufacturers;
                              markets for brand and generic drugs; inherent
                              reasonableness authority; Medicare carriers and authority
                              to set reimbursement rates
Cindy Walton, California      California Department of Health Care Services'
DHCS                          document retention and destruction policies
Jude Walsh, Maine Medicaid    Reimbursement methodologies for prescription drugs
                              under the Maine Medicaid program; goals of the Maine
                              Medicaid program; access to care under the Maine
                              Medicaid program; actual acquisition cost; AWP;
                              wholesale acquisition cost; AMP; ingredient cost; usual
                              and customary charge; EAC; MAC; FULs; Medicaid
                              rebates, including supplemental rebate agreements;
                              dispensing fees and dispensing costs, including adequacy
                              of dispensing fees; State Plans; Medicaid statutes,
                              regulations, rules, policies, and handbooks
Robert Wardwell, CMS          Methodologies, policies, and procedures concerning drug
                              reimbursement under Medicare or Medicaid;
                              implementation of those methodologies, policies, and
                              procedures; Medicaid Drug Rebate Program
Greg Weber, California DHCS   California Department of Health Care Services'
                              electronic mail system
Stanley Weintraub, CMS        Methodologies, policies, and procedures concerning drug
                              reimbursement under Medicare or Medicaid;
                              implementation of those methodologies, policies, and
                              procedures
Jerry Wells, former Florida   Reimbursement methodologies for prescription drugs
AHCA                          under the Florida Medicaid program; goals of the Florida
                              Medicaid program; access to care under the Florida
                              Medicaid program; actual acquisition cost; AWP;
                              wholesale acquisition cost; AMP; ingredient cost; usual
                              and customary charge; EAC; MAC; FULs; Medicaid
                              rebates, including supplemental rebate agreements;


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                               dispensing fees and dispensing costs, including adequacy
                               of dispensing fees; State Plans; audit reports and surveys
                               regarding providers' acquisition costs and dispensing
                               costs; providers' lobbying efforts and communications
                               with AHCA; Medicaid statutes, regulations, rules,
                               policies, and handbooks; communications with drug
                               manufacturers; Dey's price reporting to AHCA and First
                               DataBank; information provided to AHCA by First
                               DataBank; services provided by Provider Synergies and
                               ACS; claims processing; markets for brand and generic
                               drugs.
Timothy Westmoreland, CMS      Methodologies, policies, and procedures concerning drug
                               reimbursement under Medicare or Medicaid;
                               implementation of those methodologies, policies, and
                               procedures; Medicaid Drug Rebate Program
Alan White, Wisconsin DHS      AWP; WAC; actual acquisition cost
Cody Wiberg, Minnesota         Pharmacy program manager, Minnesota Medicaid, (1999
Medicaid                       to 2005) Executive Director of Minnesota Board of
                               Pharmacy, (2005 to present)
Gwendolyn Williams, Alabama    Reimbursement methodologies used by the Alabama
Medicaid Agency                Medicaid Program; access to care under the Alabama
                               Medicaid Program; providers' lobbying efforts and
                               communications with Alabama Medicaid Agency;
                               Manufacturer rebates; actual acquisition costs
Lisa Weeks, North Carolina     Reimbursement methodologies for prescription drugs
DMA                            under the North Carolina Medicaid program; goals of the
                               North Carolina Medicaid program; access to care under
                               the North Carolina Medicaid program; actual acquisition
                               cost; AWP; WAC; ingredient cost; usual and customary
                               charge; EAC; MAC; FULs; claims; providers; State
                               Plans; audit reports and surveys regarding providers'
                               acquisition costs and dispensing costs; providers'
                               lobbying efforts and communications; Medicaid statutes,
                               regulations, rules, policies, and handbooks;
                               communications with drug manufacturers; services
                               provided by Mercer; claims processing.
Wisconsin Physicians Service   Medicare reimbursement methodologies and setting of
Insurance Company              policies for reimbursement; AWP; reimbursement limits
                               and modifiers; median AWP for therapeutic equivalent
                               drugs; the provider's usual and customary charge;
                               estimated acquisition cost; rates set by the Secretary
                               pursuant to "inherent reasonableness"; policies and the
                               establishment of policies for the reimbursement of
                               nebulizer drugs; prescriptions administered through
                               durable medical equipment; dispensing fees; audits of
                               reimbursement for prescriptions administered through


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                                  durable medical equipment; pricing arrays and
                                  calculation of median AWP
Stuart R. Wright, OEI             AWP; providers' acquisition costs; preparation of the
330 Independence Avenue, SW       following OEI reports: Are Medicare Allowances for
Room 5660                         Albuterol Sulfate Reasonable?, OEI-03-97-00292;
Washington, D.C. 20201            Medicare Reimbursement of End Stage Renal Disease
(202) 619-0480                    Drugs, OEI-03-00-00020; Medicare Reimbursement of
                                  Albuterol, OEI-03-00-0031 l; Medicare Reimbursement
                                  of Prescription Drugs, OEI-03 -00-003 10; Cost
                                  Containment of Medicaid HIV/AIDS Drug Expenditures,
                                  OEI-05-99-00611
Barbara Wynn, CMS                 Methodologies, policies, and procedures concerning drug
                                  reimbursement under Medicare or Medicaid;
                                  implementation of those methodologies, policies, and
                                  procedures
Mark R. Yessian, OEI              AWP; providers' acquisition costs; preparation of the
                                  following OEI reports: Prescription Drug Promotion
                                  Involving Payments and Gifts: Physicians' Perspectives,
                                  OEI-O 1 -90-0048 1; Medicaid Drug Use Review
                                  Programs, OEI-01-92-00800
John Young, Rhode Island DHS      Conduct of Rhode Island's Medicaid program; goals of
                                  the Rhode Island Medicaid program; United States'
                                  alleged damages; reimbursement methodologies for
                                  prescription drugs under the Rhode Island Medicaid
                                  program; access to care under the Rhode Island Medicaid
                                  program; actual acquisition cost; AWP; WAC, AMP;
                                  URA; ingredient cost; usual and customary charge;
                                  claims; providers; EAC; MAC; FULs; Medicaid rebates,
                                  including supplemental rebate agreements; dispensing
                                  fees and dispensing costs, including adequacy of
                                  dispensing fees; State Plans; audit reports and surveys
                                  regarding providers' acquisition costs and dispensing
                                  costs; providers' lobbying efforts and communications;
                                  Medicaid statutes, regulations , rules, policies, and
                                  handbooks; communications with drug manufacturers;
                                  claims processing; markets for brand and generic drugs;
                                  Rhode Island and HHS's knowledge of difference
                                  between providers ' average/actual acquisition costs and
                                  published AWP and WAC; communications with HHS
                                  and other employees of other state's Medicaid programs;
                                  any topic discussed at deponent's deposition; pharmacy
                                  profit margins; DOJ AWPs; meetings and
                                  communications of the State Medicaid Directors'
                                  Association or other similar groups.
30(b)(6) Representatives for      Conduct of state's Medicaid program; goals of the state
each State not otherwise listed   Medicaid program; United States' alleged damages;


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                                       reimbursement methodologies for prescription drugs
                                       under the state Medicaid program; access to care under
                                       the state Medicaid program; actual acquisition cost;
                                       AWP; WAC, AMP; URA; ingredient cost; usual and
                                       customary charge; claims; providers; EAC; MAC; FULs;
                                       Medicaid rebates, including supplemental rebate
                                       agreements; dispensing fees and dispensing costs,
                                       including adequacy of dispensing fees; State Plans; audit
                                       reports and surveys regarding providers' acquisition
                                       costs and dispensing costs; providers' lobbying efforts
                                       and communications; Medicaid statutes, regulations,
                                       rules, policies, and handbooks; communications with
                                       drug manufacturers; claims processing; markets for
                                       brand and generic drugs; state and HHS's knowledge of
                                       difference between providers' average/actual acquisition
                                       costs and published AWP and WAC; communications
                                       with HHS and other employees of other state's Medicaid
                                       programs; any topic discussed at deponent's deposition;
                                       pharmacy profit margins; DOJ AWPs; meetings and
                                       communications of the State Medicaid Directors'
                                       Association or other similar groups.



                 In addition, Dey states that the following current and former employees of

Plaintiff-Relator Ven-A-Care of the Florida Keys, Inc. ("Relator") are likely to have discoverable

information that Dey may use to support its claims or defenses in this case on various subjects:


            1.         Zachary Bentley

            2.         Luis Cobo

            3.         T. Mark Jones

            4.         John Lockwood, M.D.

These individuals may have information on subjects relevant to this action, including, but not

limited to: Relator's knowledge of the allegations contained in the complaint; Relator's

disclosure of information to Plaintiff and state Medicaid agencies; communications with

HCFA/CMS.




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                   In addition, Dey states that the following current and former employees of First

DataBank are likely to have discoverable information that Dey may use to support its claims or

defenses in this case on various subjects:


              1.         Susan Chadwick

             2.          Joseph Hirschmann

             3.          Patricia Kay Morgan

             4.          James Breen

             5.          Ed Edelstein.

These individuals may have information on subjects relevant to this action, including but not

limited to: knowledge that prices published in third party pricing compendia, such as First

DataBank, did not and were not intended to represent the actual acquisition cost of the respective

pharmaceuticals for health care providers; relevant pricing terms; setting of generic drug prices.

                   In addition, Dey states that the following current and former employees of

wholesale drug distributors are likely to have discoverable information Dey may use to support

its claims or defenses regarding the marketplace for the sale of prescription drugs:


              1.         Matt Erick, Cardinal Health

             2.          Amerisource Bergen

             3.          Saul Factor, McKesson Corporation



Rule 26(a)(1)(B): Relevant Documents

(B)      A copy of, or a description by category and location of, all documents,
         data compilations, and tangible things that are in the possession, custody,
         or control of the party and that the disclosing party may use to support its
         claims or defenses, unless solely for impeachment.
RESPONSE:



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                Dey's investigation of this matter is not yet complete, but the documents, data

compilations, and tangible things that Dey has or controls and is aware of at this time that Dey

may use to support its claims or defenses include, but are not limited to, the documents described

below. Due to ongoing discovery in similar cases copies of many documents, data compilations

and tangible things that are responsive are in the custody of Dey's counsel, Kelley Drye &

Warren LLP, although originals and additional copies of certain of those documents may be

located at Dey's headquarters at 2751 Napa Valley Corporate Drive, Napa, California 94558.

Dey anticipates that it will discover additional documents in the course of its further

investigation and in discovery in this case, and reserves the right to use such additional

documents, in addition to documents listed in any other party's Initial Disclosures, in connection

with these proceedings and at trial. Dey provides this response without waiver or prejudice to:

(a) its right, at any later time, to raise any objections as to the competency, relevancy,

materiality, privilege or admissibility as evidence, for any purpose, of any documents or

information listed below; (b) its right to object on any ground to the use of the documents or

information listed below at any hearing or trial; or (c) its right at any time to revise, correct, add

to, supplement, or clarify this response.

                 I.     Eleven CDs of transactional data concerning Dey's albuterol, ipratropium,
                        cromolyn, acetylcysteine, and metaproterenol products.

                2.      One CD containing data relating to rebates and promotional offers.

                3.      One CD containing wholesaler data for albuterol, cromolyn, and
                        ipratropium for the period 01/01/1992 to 12/31/2005.

                4.      One CD containing wholesaler data for albuterol, cromolyn, and
                        ipratropium for the period 1/1/2006 to 3/31/2007.

                5.      One CD containing a complete set of transaction data for Albuterol
                        Inhalation Aerosol MDI Refill 17g.

                6.      Dey e-mails, marked EDEYBO-0000001 to EDEYBO- 0750048.


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                7.     Dey e-mails, marked EDEYLABS -00000001 to EDEY-LABS-0104788.

                8.     600 boxes of documents in hard copy from Dey's accounting, marketing
                       and sales departments. Counsel for one of the plaintiffs in the multi-
                       district litigation In re Pharmaceutical Industry Average Wholesale
                       Pricing Litigation, MDL 1456 (D. Mass), reviewed these boxes and
                       copied 104,528 pages of documents, which have been marked DEY-
                       MDL-0000001 to DEY-MDL-0104546.

                9.     Documents from Dey's records that Dey has produced to the federal
                       government and various states in electronic format, marked with the
                       following ranges:

                       a.     DL 001 to DL 2697; DL 50001 to DL65328;

                       b.     DL-TX 0001 to DL-TX 1114, DL-TX 02000 to DL-TX 56030,
                              DL-TX 60001 to DL-TX 170972, DL-TX 400000 to DL TX
                              411625;

                       c.     DL-BO 57241 to DL-BO 57631; DL-BO 60000 to DL-BO
                              0159807;

                       d.     DL-CC 001 TO DL-CC 0346;

                       e.     DL-CA 001 to DL-CA 443;

                       f.     DL-WO 001 to DL-WO 075;

                       g.     DL-MDL 0001 to DL-MDL 0071;

                       h.     DEY-BO-0000001 to DEY-BO-0289520;

                       i.     DEY-OIG-000001 to DEY-OIG-0133894;

                       j.     DEY-CO-0000001 to DEY-CO-0010162;

                       k.     DEYLABS-0000001 to DEY-LABS-0416625;

                       1.     DEY-MDL-0105033 to DEY-MDL-0105136;

                       m.     DEY-CT-0000001 to DEY-CT-138695;

                       n.     DEY-WI-0000001 to DEY-WI-0118140;

                       o.     DEY-FLA-0000001 to DEY-FLA-0144177;

                       P.     DEY-PA-0000001 to DEY-PA-0013061.




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                 10.   Documents relating to the action, Dey, L.P. v. First DataBank, Inc., No.
                       26-21019 (Cal. Super. Ct.), marked DEY-MDL-104550 to DEY-MDL-
                       105032.

                In addition to the documents listed above, Dey intends to rely on documents

currently in the possession of plaintiffs, various third parties, and state agencies, as well as

documents and claims data produced by plaintiffs during the course of discovery, documents and

claims data produced by states and/or state Medicaid agencies, and documents produced by third

parties in response to subpoenas.




Dated: December 15, 2008

                                                 Respectfully submitted,


                                                 /s/ Sarah L. Reid
                                                 Paul F. Doyle (BBO # 133460)
                                                 Sarah L. Reid (pro hac vice)
                                                 Neil Merkl (pro hac vice)
                                                 KELLEY DRYE & WARREN LLP
                                                 101 Park Avenue
                                                 New York, New York 10178
                                                 Telephone: (212) 808-7800
                                                 Facsimile: (212) 808-7897

                                                  -and-

                                                 Martin F. Murphy (BBO # 363250)
                                                 FOLEY HOAG LLP
                                                 155 Seaport Boulevard
                                                 Boston, Massachusetts 02110
                                                 Telephone: (617) 832-1000
                                                 Facsimile: (617) 832-7000

                                                 Attorneys for Defendants
                                                 Dey, Inc., Dey L.P., Inc. and Dey, L.P.




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